      Case 1:20-cv-09641-ALC-SDA          Document 168-3         Filed 07/15/24      Page 1 of 73




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                       )
   OMAR MALCOLM, et al.                                )
                                                       )
                                 Plaintiffs,           )
   v.                                                  ) Case No. 20-CV-09641-ALC
                                                       )
   THE CITY OF NEW YORK,                               )
                                                       )
                                 Defendant.            )
                                                       )

                                  SETTLEMENT AGREEMENT

          This Settlement Agreement (“Agreement”) is made and entered into by and among the

 Plaintiffs in the above-captioned case, who are identified in Exhibit A attached hereto, and who

 are all persons who have timely consented to be party-plaintiffs in this action, and Defendant, the

 City of New York and all other New York City departments, commissions, agencies, related

 entities, predecessors, successors, trustees, members, officers, directors and employees, agents,

 assigns, representatives, employee benefit plans and the trustees, administrators, and fiduciaries of

 such plans (hereinafter collectively referred to as “Defendant”), and is based on the following:

 I.       RECITALS

        1.1    Plaintiffs are approximately 2600 individuals employed or formerly employed by the

Defendant who are set forth on Exhibit A. On November 17, 2020, and on various dates thereafter,

Plaintiffs filed their Consent to Sue forms with this Court in the case Malcolm et al., v. City of New

York, Case No.: 20-CV-09641-ALC (hereinafter, the “Lawsuit”). Exhibit A contains a list of all

Plaintiffs.

        1.2    Plaintiffs listed in Exhibit A have made certain allegations concerning their

employment with the Defendant regarding an asserted failure to pay wages and overtime




                                                   1
   Case 1:20-cv-09641-ALC-SDA               Document 168-3       Filed 07/15/24     Page 2 of 73




compensation in compliance with the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq.

(hereinafter referred to as the “Released Claims”).

         1.3     Plaintiffs and Defendant (hereinafter collectively referred to as the “Parties”) have

 agreed to settle the matters in dispute between and among them pursuant to the terms of this

 Agreement. Specifically, the Parties and their counsel have considered that the interests of all

 concerned are best served by compromise, settlement, and dismissal of the Plaintiffs’ claims with

 prejudice. The Parties have concluded that the terms of this Agreement are fair, reasonable,

 adequate, and in the Parties’ mutual best interests.

         1.4     The Parties, through their counsel, will seek judicial approval of this Settlement

 Agreement. In the event the proposed settlement contained in this Agreement does not become

 effective in accordance with the terms hereof, is not finally approved, or otherwise fails to become

 effective for any reason, this Agreement will no longer have any effect, and the Parties will revert

 to their respective positions as of the date and time immediately prior to the execution of this

 Agreement.

 II.     PAYMENT AND DISTRIBUTION

       2.1     In consideration for the terms, conditions and promises in this Agreement, Defendant

shall, in accordance with the paragraphs in this section, pay or will cause to be paid to Plaintiffs

$6,200,000.00 to resolve all claims for FLSA damages allegedly accruing for the period from

November 17, 2017, through December 14, 2023 (“the Settlement Amount”), inclusive of backpay,

liquidated damages, attorneys’ fees and litigation expenses. The Settlement Amount will be divided

and distributed to Plaintiffs as follows:

        (A) regular payroll checks/direct deposits for active (employed) Plaintiffs and separate

       payroll checks for inactive (no longer employed) Plaintiffs made payable to each Plaintiff in




                                                   2
  Case 1:20-cv-09641-ALC-SDA            Document 168-3         Filed 07/15/24      Page 3 of 73




     accordance with Plaintiffs’ Counsel’s instructions concerning each Plaintiff’s share of the

     backpay award in the total amount of $3,000,000.00 (“the Backpay Amount”), less all

     applicable taxes/deductions, withholdings, liens, judgments and garnishments for that

     individual Plaintiff of which Defendant’s Counsel is aware              (with the applicable

     taxes/deductions, withholdings, liens, judgments and garnishments to be consistent with law

     and the Plaintiff’s last W-4 on file with Defendant).

     (B) one check in the amount of $3,150,000.00 constituting liquidated damages, attorneys’

     fees and litigation expenses (“Lump Sum Amount”) payable to Analytics Consulting, LLC,

     a third party claims administrator, for distribution to the Plaintiffs as follows: In accordance

     with paragraph 2.4 below and pursuant to the individual retainer agreements/opt-in forms

     signed by all approximately 2600 Plaintiffs, Analytics Consulting LLC will deduct

     Plaintiffs’ Counsel’s litigation expenses and then a contingency attorney fee equal to thirty

     three and a third (33 1/3%) of the Settlement Amount or other amount approved by the Court

     prior to distributing to all Plaintiffs their liquidated damages share of the Lump Sum

     Amount; and

     (C) one check in the amount of $50,000 constituting emotional distress damages payable to

     Individual Plaintiff Omar Malcom which shall be mailed to Plaintiffs’ Counsel at the Law

     Office of Paul A. Pagano, P.C.

The individual amounts of backpay and liquidated damages are to be calculated pursuant to the

formula set forth in paragraph 2.5. These amounts, along with the amounts paid for attorneys’ fees

and costs, and emotional distress damages to Plaintiff Malcolm are agreed to among the Parties to

compromise, settle and satisfy the Released Claims and liquidated damages related to the Released

Claims.




                                                 3
  Case 1:20-cv-09641-ALC-SDA            Document 168-3         Filed 07/15/24      Page 4 of 73




       2.2     Within twenty-one (21) days from the later of the date that the Court enters an Order

finally approving this Agreement or the resolution of any appeal therefrom, Defendant shall

provide Plaintiffs’ Counsel and Analytics Consulting LLC with the social security numbers and

last known addresses of all Plaintiffs. In the event that the Defendant does not possess such

information, or the information is inaccurate, the Parties will work together in good faith with

Analytics Consulting LLC to obtain such information.          Defendant shall issue payment by

distributing the backpay amounts (not liquidated damages) in regular payroll checks or direct

deposit payments directly to active Plaintiffs and distributing separate payroll checks for inactive

Plaintiffs to Analytics Consulting, LLC in the amounts specified by Plaintiffs’ counsel (less

taxes/deductions, withholdings, liens, judgments, and garnishments) for backpay, and by

providing by check to Analytics Consulting, LLC, the Lump Sum Amount for all of the Plaintiffs

as specified in paragraph 2.1 (B). In the event that a Plaintiff’s backpay amount or liquidated

damages amount will/should be reduced as the result of taxes/deductions, withholdings, wage

garnishment, lien or judgment, Defendant’s Counsel shall provide Plaintiffs’ Counsel with: (1) the

name of the Plaintiff; and (2) the amount of the reduction and the nature of the reduction at or

before the time the payment is to be made. The Settlement Amount will be funded, meaning

provided by Defendant to Plaintiffs, Plaintiffs’ Counsel and/or Analytics Consulting, LLC

consistent with paragraphs 2.1 and the foregoing portion of 2.2 within 90 days from the latter of

the date that the Court enters an Order finally approving this Agreement or the resolution of any

appeal therefrom. More specifically, within 90 days from the later of the date the Court enters an

Order finally approving this Agreement or the resolution of an appeal therefrom Defendant: (1)

shall provide payroll checks/make direct deposits to its active employees for backpay; (2) shall

send payroll checks for back wages to Analytics Group, LLC for inactive employees; (3) shall




                                                 4
  Case 1:20-cv-09641-ALC-SDA             Document 168-3          Filed 07/15/24      Page 5 of 73




send the Lump Sum Amount to Analytics Consulting LLC; and (4) shall send the individual

payment for Plaintiff Malcolm’s emotional distress damages to the Law Office of Paul A. Pagano,

P.C. Within 30 days after (1)-(4) above are accomplished, Analytics Consulting LLC shall: (1)

retain from the Settlement Amount its expenses for its services both in connection with collective

notice distribution and settlement administration; (2) issue a check for attorneys’ fees to the Law

Office of Paul A. Pagano, P.C. to be divided amongst Plaintiffs’ Counsel; and (3) issue initial

checks for liquidated damages to all Plaintiffs subject to a $100,000 reserve (taken proportionally

from each of the Plaintiffs’ liquidated damages entitlements) to cover any disputes regarding the

amount of funds received by any Plaintiff. Additionally, within 30 days after (1)-(4) above are

accomplished the Law Office of Paul A. Pagano, P.C. shall tender the $50,000 check to Plaintiff

Malcolm for his emotional distress damages. Thereafter, Analytics Consulting, LLC will provide

the backpay checks it received from Defendant to inactive employees on an ad-hoc basis as the

inactive employees’ initial liquidated damages checks clear. Any disputes with respect to a

Plaintiffs’ award must be raised by the given Plaintiff within 120 days after the first round of

liquidated damages checks are issued. Analytics Consulting, LLC in concert with Plaintiffs’

counsel shall resolve any such disputes. After the later of the foregoing 120 days or the resolution

of all timely raised disputes, Analytics Consulting LLC shall issue a second round of liquidated

damages checks exhausting whatever remains of the reserve. The second round of liquidated

damages checks shall be in proportion to each Plaintiffs’ entitlement (e.g., if a Plaintiff is entitled

to 1% of the liquidated damages award s/he would receive 1% of any unexhausted reserve).

       2.3     Defendant will forward the Lump Sum Amount payable to Analytics Consulting

LLC who will be responsible for distributing to each Plaintiff listed in Exhibit A his or her

respective share of the Lump Sum Amount in accordance with the formula described in paragraph




                                                  5
  Case 1:20-cv-09641-ALC-SDA            Document 168-3         Filed 07/15/24      Page 6 of 73




2.5 below and pursuant to the individual Plaintiffs’ retainer agreements/opt-in forms with

Plaintiffs’ Counsel. Defendant will make a good faith effort to notify Plaintiffs’ Counsel at least

14 calendar days prior to distribution of the backpay amount of the exact date when each active

(employed) Plaintiff will be paid. Defendant will also send to Analytics Consulting LLC each

inactive (non-employed) Plaintiff’s individual backpay check for distribution to those Plaintiffs

along with a corresponding document identifying all taxes/deductions, withholdings, lien,

judgments and garnishments. The Defendant will work with Plaintiffs’ Counsel and Analytics

Consulting LLC to reissue backpay checks to any Plaintiffs whose checks become lost in the mail

and/or become void. Plaintiffs’ Counsel’s good faith efforts to send backpay checks to the best

address for inactive Plaintiffs will include Analytics Consulting LLC running the Plaintiffs’

addresses through the National Change of Address database to ensure Plaintiffs’ Counsel has the

best address on file for inactive Plaintiffs and holding a given inactive Plaintiff’s City-issued

backpay check until his/her initial liquidated damages check clears the inactive Plaintiff’s account

signifying that the liquidated damages check was delivered to the correct address.

     2.4       Plaintiffs have entered into individual agreements/opt-in forms with Plaintiffs’

Counsel. Each of these retainer agreements/opt-in forms provide for a contingency attorney fee

equal to thirty-three and a third (33 1/3%) of the Settlement Amount, after deducting costs and

expenses. Plaintiffs, their counsel, and the Court are solely responsible for determining the

contingency attorney fee applicable to this Agreement. Plaintiffs’ Counsel/Analytics Consulting

LLC shall deduct their contingency attorney fees and costs in the amount approved by the Court

from the Lump Sum Amount in accordance with Plaintiffs’ individual agreements with Plaintiffs’

Counsel.




                                                 6
  Case 1:20-cv-09641-ALC-SDA             Document 168-3        Filed 07/15/24      Page 7 of 73




       2.5 The following is how damages will be computed for Plaintiffs. By no later than 60

days after the submission of the instant settlement agreement to the Court for preliminary approval,

Defendant will provide Plaintiffs with information pertaining to the number of overtime hours

worked by each Plaintiff during the period of November 17, 2017 to December 14, 2023

(“Pertinent Period”) as reflected in the Defendant’s time/payroll records. For each individual

Plaintiff their total number of overtime hours worked during the Pertinent Period will be divided

by the total number of overtime hours worked by all Plaintiffs during the Pertinent Period to arrive

at a percentage. That percentage will be multiplied first by $3,000,000 to determine each

Plaintiff’s gross backpay award and second by $3,150,000 less attorneys’ fees and costs (including

administrative costs) to arrive at a liquidated damages award. In recognition of the fact that the 24

lead Plaintiffs filed their consents approximately 2 years before the opt-in Plaintiffs and have been

actively assisting with prosecution of the Lawsuit the numerator of the lead Plaintiffs’ above

equation shall be multiplied by 3. Each Plaintiff who has a backpay award above $75 and a

liquidated damages award above $25 will have said awards reduced ratably so that each Plaintiff

who would not otherwise receive $75 in back pay and $25 in liquidated damages is awarded same.

Within 45 days of receipt of the overtime information from Defendant, Plaintiffs, their counsel,

any expert retained by Plaintiffs, and Analytics Consulting LLC will calculate the backpay owed

to each Plaintiff and provide Defendant with said calculations. Plaintiffs, their counsel, Analytics

Consulting, LLC, and any expert retained by Plaintiffs are solely responsible for determining the

allocations among Plaintiffs and the distribution of funds (with the exception of backpay to active

employees which is undertaken by Defendant), except that Defendant will make reasonable efforts

to assist Plaintiffs’ Counsel in reissuing backpack checks as needed as described in Paragraph 2.3.




                                                 7
   Case 1:20-cv-09641-ALC-SDA             Document 168-3         Filed 07/15/24      Page 8 of 73




       2.6     Provided Defendant meets its obligations under this Agreement, Plaintiffs and their

counsel, Law Offices of Paul A. Pagano P.C., and Law Offices of Jason L. Abelove P.C., will

defend, release, and hold Defendant harmless from any and all claims or causes of action arising

from the distribution of settlement funds. For the avoidance of doubt, as Plaintiffs, the Law Office

of Paul A. Pagano P.C. and Law Offices of Jason L. Abelove, P.C. are responsible for defense, in

the event of any claim or cause of action arising from the distribution of settlement funds, the Law

Office of Paul A. Pagano P.C. and Law Offices of Jason L. Abelove, P.C., or a firm of their choice,

will be the firm(s) that defend against any such claims or causes of action and the Law Office of

Paul A. Pagano and Law Offices of Jason L. Abelove P.C. will have settlement authority.

       2.7     Defendant shall distribute W-2 forms to the Plaintiffs reflecting the backpay

payments made under this Agreement. Analytics Consulting, LLC shall distribute to each Plaintiff

receiving a liquidated damages award a Miscellaneous Income Form 1099 reflecting the amount

paid to the Plaintiff as liquidated damages inclusive of the contingency attorneys’ fees paid. Each

Plaintiff agrees that he or she will be responsible for his or her individual tax liability associated

with the payments made to him or her under this Agreement. Each Plaintiff agrees that s/he shall

indemnify and hold harmless Defendant in the event of any dispute concerning whether taxes are

owed by him/her on the liquidated damages paid to him/her as part of the settlement.

       2.8     All payments to Plaintiffs shall be deemed to be paid solely in the year in which such

payments are actually received by Plaintiffs. It is expressly understood and agreed that the receipt

of such settlement payments will not entitle any Plaintiff to additional compensation or benefits

under any bonus, contest, or other compensation or benefit plan or agreement in place during the

period covered by the Agreement, nor will it entitle any Plaintiff to any increased retirement or

matching benefits, or deferred compensation benefits. It is also expressly understood and agreed




                                                   8
   Case 1:20-cv-09641-ALC-SDA              Document 168-3        Filed 07/15/24      Page 9 of 73




that no pension contributions shall be taken from the backpay payments. It is the intent of this

Agreement that the settlement payments provided for in this Agreement are the sole payments to be

made to the Plaintiffs in connection with this Lawsuit, and that the Plaintiffs are not entitled to any

new or additional compensation or benefits as a result of having received payment pursuant to this

Agreement (notwithstanding any contrary language or agreement in any benefit or compensation

plan document that might have been in effect during the time period beginning three (3) years prior

to the filing date of each Plaintiff’s Consent to Sue form through December 14, 2023). Plaintiffs

agree not to bring any further action against Defendant or any retirement or welfare benefit plan

maintained by Defendant or any of its affiliates for additional benefits as a result of any additional

compensation paid as a result of this Agreement. This Agreement may be used by the Defendant or

by any benefit plan or fiduciary thereof as a complete and absolute defense to any such claim.

 III.    RELEASE AND COVENANT NOT TO SUE

        3.1    All Plaintiffs for themselves, and their spouses and families, attorneys (if any),

agents, executors, administrators, personal representatives, heirs, successors, any future estates,

assigns and beneficiaries, and any and all of them (collectively, the “Releasers”), voluntarily and

with the advice of counsel, fully and forever release, acquit, and discharge the Defendant, its present

or former officers, directors, subsidiaries, affiliates, partners, employees, agents, attorneys,

accountants, executors, administrators, personal representatives, heirs, successors and assigns, and

any or all of them and all persons acting by, through, under, or in concert with any of them

(collectively, the “Releasees”), in their personal, individual, official and/or corporate capacities,

from all wage and hour claims asserted in the Lawsuit, and all federal, state and/or local statutory

wage and hour claims that could have been asserted in the Lawsuit, arising from the beginning of




                                                   9
   Case 1:20-cv-09641-ALC-SDA             Document 168-3         Filed 07/15/24      Page 10 of 73




time up to and through December 14, 2023, for the time period Plaintiffs worked in the positions of

ADW, Captain or CO for the Defendant.

       3.2     Plaintiff(s) shall be deemed to and shall have waived, released, discharged and

dismissed all released claims as set forth in Paragraphs 3.1 and 3.4, with full knowledge of any and

all rights they may have, and they hereby assume the risk of any mistake in fact in connection with

the true facts involved or with regard to any facts which are now unknown to them.

       3.3     Plaintiff(s) understand and agree that to the fullest extent permitted by law, they are

precluded from filing or pursuing any legal claim or action of any kind against any entity at any time

in the future, or with any federal, state or municipal court, tribunal or other authority arising out of

the Released Claims set forth in paragraphs 3.1 and 3.4 as applicable for the time period beginning

three (3) years prior to the filing date of each Plaintiff’s Consent to Sue form through December 14,

2023, with respect to the claims asserted in this Lawsuit. Excluded from this release and covenant

not to sue is any right or claim that cannot be waived by law, including but not limited to the right

to file a charge with or participate in an investigation conducted by government agencies. All

Plaintiffs are waiving, however, any right to monetary recovery should any agency pursue any

claims on their behalf with respect to the Released Claims for the time period beginning three (3)

years prior to the filing date of each Plaintiff’s Consent to Sue form through December 14, 2023.

       3.4     In addition to claims for late paid and unpaid overtime under the Fair Labor Standards

Act, lead Plaintiff Omar Malcolm asserted an additional claim for retaliation for which he is being

paid $50,000 above and beyond the backpay and liquidated damages amounts he stands to recover

as part of the collective. Therefore, Plaintiff Omar Malcolm, for himself, and his spouse and family,

attorneys (if any), agents, executors, administrators, personal representatives, heirs, successors, any

future estates, assigns and beneficiaries, and any and all of them (collectively, the “Malcolm




                                                   10
   Case 1:20-cv-09641-ALC-SDA               Document 168-3           Filed 07/15/24   Page 11 of 73




Releasers”), voluntarily and with the advice of counsel, fully and forever release, acquit, and

discharge the Defendant, its present or former officers, directors, subsidiaries, affiliates, partners,

employees, agents, attorneys, accountants, executors, administrators, personal representatives, heirs,

successors and assigns, and any or all of them and all persons acting by, through, under, or in concert

with any of them (collectively, the “Malcolm Releasees”), in their personal, individual, official

and/or corporate capacities, from all wage and hour and retaliation claims asserted in the Lawsuit,

and all federal, state and/or local statutory wage and hour claims, retaliation claims and claims that

arise out of the facts that are the subject of the instant action.

        3.5     All Plaintiffs agree that they are entering into this Agreement knowingly, voluntarily,

and with full knowledge of its significance. Each Plaintiff affirms that he or she has not been

coerced, threatened, or intimidated into agreeing to the terms of this Agreement, and he or she has

been advised to consult with their attorney should they have any questions.

 IV.     DISMISSAL OF CLAIMS

        4.1     Plaintiffs agree to dismissal of all claims asserted in the Lawsuit against Defendant

as specified in paragraph 1.1 and 1.2 with prejudice, in accordance with the Agreed Order of

Dismissal with Prejudice attached hereto as Exhibit B.

 V.      NO ADMISSION OF LIABILITY

        5.1     Nothing contained herein shall be deemed to be an admission by the City of New

York, or any of the present or former officials, employees, representatives and agents of the

Defendant of the truth of any of the allegations contained in the complaint, or an admission that

Defendant or any of the present or former officials, employees, representatives and agents of

Defendant have in any manner or way violated Plaintiffs’ rights, or the rights of any other person or

entity, as defined in the constitutions, statutes, ordinances, rules or regulations of the United States,




                                                     11
   Case 1:20-cv-09641-ALC-SDA              Document 168-3         Filed 07/15/24      Page 12 of 73




the State of New York or the City of New York, or any other rules, regulations or bylaws of the

Defendant. This Agreement shall not be admissible in, nor is it related to, any other litigation or

settlement negotiations, except that this Agreement may be used by either party in connection with

any subsequent action or proceeding relating solely to the enforcement of this Agreement.

 VI.       NO RETALIATION

        6.1      The Defendant agrees not to retaliate against nor take any action against any Plaintiff

employed by the Defendant for pursuing claims in this action or for otherwise participating in the

Lawsuit.

 VII.      CONTINUED JURISDICTION

        7.1      The U.S. District Court for the Southern District of New York shall have continuing

jurisdiction to construe, interpret and enforce the provisions of this Agreement, and to hear and

adjudicate any dispute or litigation arising from this Agreement or the issues of law and facts

asserted in or related to the instant action.

 VIII. PARTIES’ AUTHORITY

           8.1    The signatories hereby represent that they are fully authorized to enter into this

 Agreement and to bind the Parties hereto to the terms and conditions hereof. The Parties

 acknowledge that the Court may schedule a settlement approval conference in this matter before

 the Honorable Andrew L. Carter. To object to the settlement, a Plaintiff must either appear in

 person at the settlement approval conference, or by telephone if the Court conducts a telephonic

 settlement approval conference, to voice their objection. To be heard at such conference, a Plaintiff

 must contact the Parties/Court, in writing, in advance of any such settlement approval conference

 to explain all reasons for the objection. A Plaintiff who does not object to the Settlement

 Agreement does not have to attend the settlement approval conference should the Court schedule




                                                    12
   Case 1:20-cv-09641-ALC-SDA           Document 168-3         Filed 07/15/24     Page 13 of 73




 one or take any other action to approve the settlement and/or otherwise indicate his or her

 agreement to the terms of the settlement.

         8.2    All of the Parties acknowledge that they have been represented by competent,

 experienced counsel throughout all negotiations which preceded the execution of this Agreement,

 and this Agreement is made with the consent and advice of counsel who have jointly prepared this

 Agreement.

 IX.     MUTUAL FULL COOPERATION

        9.1    The Parties agree to use their best efforts and to fully cooperate with each other to

accomplish the terms of this Agreement, including but not limited to execution of such documents,

and to take such other action, as may reasonably be necessary to implement and effectuate the terms

of this Agreement.

 X.      MODIFICATION

        10.1   This Agreement and its attachments may not be changed, altered, or modified, except

in writing and signed by the Parties hereto, and approved by the Court.

 XI.     ENTIRE AGREEMENT

        11.1   This Agreement including its attachments, constitute the entire agreement between

the Parties concerning the subject matter hereof. No extrinsic oral or written representations or

terms shall modify, vary or contradict the terms of this Agreement. In the event of any conflict

between this Agreement and any other settlement-related document, the Parties intend that this

Agreement shall be controlling.

 XII.     CHOICE OF LAW/JURISDICTION

        12.1   This Agreement shall be subject to, governed by, construed, enforced, and

administered in accordance with the laws of the State of New York, both in its procedural and




                                                 13
   Case 1:20-cv-09641-ALC-SDA             Document 168-3         Filed 07/15/24      Page 14 of 73




substantive aspects, and shall be subject to the continuing jurisdiction of the U.S. District Court for

the Southern District of New York. This Agreement shall be construed as a whole according to its

fair meaning and intent, and not strictly for or against any party, regardless of who drafted or who

was principally responsible for drafting this Agreement or any specific term or condition thereof.

 XIII. VOIDING THE AGREEMENT

       13.1    In the event this Agreement, or any amended version agreed upon by the Parties, does

not obtain judicial approval for any reason this Agreement shall be null and void in its entirety,

unless expressly agreed in writing by all Parties.



         [THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK]




                                                     14
Case 1:20-cv-09641-ALC-SDA   Document 168-3   Filed 07/15/24   Page 15 of 73
Case 1:20-cv-09641-ALC-SDA   Document 168-3   Filed 07/15/24   Page 16 of 73




                             EXHIBIT A
Case 1:20-cv-09641-ALC-SDA            Document 168-3            Filed 07/15/24   Page 17 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name              EIN Number

  1   Named Plaintiff      Monique Johnson                      450806
  2   Named Plaintiff      Tamelle Hilliard                    1148335
  3   Named Plaintiff      David Ruddock                        492661
  4   Named Plaintiff      Keysha Lewis                         497588
  5   Named Plaintiff      Anthony Aponte                       549847
  6   Named Plaintiff      Roberto Fernandez                    582225
  7   Named Plaintiff      Omar Malcolm                         611341
  8   Named Plaintiff      Jose De Jesus                        834249
  9   Named Plaintiff      Shirlene Blair                       847359
 10   Named Plaintiff      Lanae Curry                          937115
 11   Named Plaintiff      Yolanda Holmes                       985189
 12   Named Plaintiff      Shakiyna Espino                     1001249
 13   Named Plaintiff      Myrline Ulysses                     1012203
 14   Named Plaintiff      Chantal Gouveia                     1028489
 15   Named Plaintiff      Deryck Charles                      1077606
 16   Named Plaintiff      Brice Williams                      1123245
 17   Named Plaintiff      Latif Cornelius                     1133685
 18   Named Plaintiff      Carolyn Maraj                       1222063
 19   Named Plaintiff      Vlajemy Francois                    1303232
 20   Named Plaintiff      Crystal Garnett                     1448685
 21   Named Plaintiff      Zhi Hui Pu                          1510551
 22   Named Plaintiff      Huziran Mozeb                       1557500
 23   Named Plaintiff      April Herney Kosakowski             1651268
 24   Named Plaintiff      Karven Alcindor                     1700586
 25   Similarly Situated   Christopher Davila                  1161326
 26   Similarly Situated   Thomas Johnson                      1623696
 27   Similarly Situated   Cathleen Lang                       1623875
 28   Similarly Situated   Kimberly Smith                      1055646
 29   Similarly Situated   Hector Vargas                       1572436
 30   Similarly Situated   Jeffrey Fernandez                   1601260
 31   Similarly Situated   Valerie Jones                        332952
 32   Similarly Situated   Peter Ferraro                       1468581
 33   Similarly Situated   Alicia Shaw                         1601581
 34   Similarly Situated   Khalilah Cooper                     1215823
 35   Similarly Situated   Robert Leibowitz                    1700842
 36   Similarly Situated   Jack Baiamonte                      1700825
 37   Similarly Situated   Alex Ramos                          1700791
 38   Similarly Situated   Angel Marrero                       1700768
 39   Similarly Situated   Mehadi Hassan                       1700706
 40   Similarly Situated   Caroline Ndiaye                     1700658
 41   Similarly Situated   Mamadou Diallo                      1700612
 42   Similarly Situated   Mitchell Kolbert                    1674916
 43   Similarly Situated   David Ghee                          1674889
 44   Similarly Situated   Jaichand Rupram                     1660220
 45   Similarly Situated   Irving Cyrus Vargas                 1651609
 46   Similarly Situated   Angel Rivera                        1651496
 47   Similarly Situated   Antonio Rivas Munoz                 1651495
 48   Similarly Situated   Jose Ramirez Valenzu                1651477




                                             Page 1 of 54
Case 1:20-cv-09641-ALC-SDA             Document 168-3            Filed 07/15/24   Page 18 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name               EIN Number

 49   Similarly Situated   Jean Cruz                            1651149
 50   Similarly Situated   Jose Rodriguez                       1625345
 51   Similarly Situated   Aariane Estrella                     1624878
 52   Similarly Situated   Md Hossain                           1624362
 53   Similarly Situated   Wilkin Ruiz Valerio                  1624346
 54   Similarly Situated   Rafael Rodriguez                     1624329
 55   Similarly Situated   Miguel Roldan                        1623993
 56   Similarly Situated   Gerard Norton                        1623727
 57   Similarly Situated   Jonathan Baumer                      1623655
 58   Similarly Situated   Abraham West                         1601666
 59   Similarly Situated   Efe Oztas                            1601475
 60   Similarly Situated   Ryan Lopez                           1601394
 61   Similarly Situated   Cesar Fabian                         1601249
 62   Similarly Situated   Ashley Cox                           1601191
 63   Similarly Situated   Taha Boussila                        1601129
 64   Similarly Situated   Niasia Baston                        1601111
 65   Similarly Situated   Md Ali                               1601073
 66   Similarly Situated   Skarlly Flores                       1558680
 67   Similarly Situated   Luis Velez                           1557648
 68   Similarly Situated   Alesandro Martorella                 1557469
 69   Similarly Situated   Michael Marcus                       1557464
 70   Similarly Situated   Panteleimon Haralambidis             1557377
 71   Similarly Situated   James Galatro                        1557343
 72   Similarly Situated   Julia Chavis                         1557262
 73   Similarly Situated   Karen Blake                          1557215
 74   Similarly Situated   Manuel Amarante                      1557182
 75   Similarly Situated   Stephanie Johnson                    1543570
 76   Similarly Situated   Vincilski Lovelace                   1532871
 77   Similarly Situated   Latasha Spiller                      1532734
 78   Similarly Situated   Sandra Guillaume                     1532613
 79   Similarly Situated   Tyrone Shaw Jr                       1510594
 80   Similarly Situated   Jesse Rebelo                         1510558
 81   Similarly Situated   Miguel Negron                        1510521
 82   Similarly Situated   Michael Labarbera                    1510460
 83   Similarly Situated   Kurt Jackson                         1510441
 84   Similarly Situated   Dominique Hamilton                   1510417
 85   Similarly Situated   Richard Fearon                       1510368
 86   Similarly Situated   Emre Kizilirmak                      1491513
 87   Similarly Situated   Michael Thomas                       1478879
 88   Similarly Situated   Joseph Yodice                        1477444
 89   Similarly Situated   Daliz Hamilton                       1448722
 90   Similarly Situated   Marissa John                         1447609
 91   Similarly Situated   Ocha-Grace Solomon                   1430330
 92   Similarly Situated   Jason Rivera                         1421994
 93   Similarly Situated   Arielle Avin                         1421823
 94   Similarly Situated   James Thomas                         1357944
 95   Similarly Situated   Clayton Myers                        1357900
 96   Similarly Situated   Tiffany Korzan                       1357855




                                              Page 2 of 54
Case 1:20-cv-09641-ALC-SDA             Document 168-3            Filed 07/15/24   Page 19 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name               EIN Number

97    Similarly Situated   Michelle Jefferson                   1357847
98    Similarly Situated   Maria Leon                           1347632
99    Similarly Situated   Christopher Garcia                   1343339
100   Similarly Situated   Jamillah Muhammad                    1343272
101   Similarly Situated   Timothy Harris                       1343259
102   Similarly Situated   Tiesha Hudson                        1343245
103   Similarly Situated   Levar Davis                          1333424
104   Similarly Situated   Mohammed Noor                        1329537
105   Similarly Situated   Zel Serrano                          1322354
106   Similarly Situated   Gordon Noel                          1322330
107   Similarly Situated   Sean Narain                          1322328
108   Similarly Situated   Nortricia Moreno                     1322323
109   Similarly Situated   Justo Camacho                        1322231
110   Similarly Situated   Christina Boodoo                     1307300
111   Similarly Situated   Antonio Saltalamacchia               1303315
112   Similarly Situated   Christopher Ramirez                  1303295
113   Similarly Situated   Danielle Digilio                     1303218
114   Similarly Situated   Angela Cunningham                    1303214
115   Similarly Situated   Scott Tebbens                        1286837
116   Similarly Situated   Kenya Waiters                        1272625
117   Similarly Situated   Cedric Turnier                       1272620
118   Similarly Situated   Shavone Pankey                       1268056
119   Similarly Situated   Cristian Montanez                    1216413
120   Similarly Situated   Amoy Griffiths                       1209517
121   Similarly Situated   Joseph Manzolillo                    1153933
122   Similarly Situated   Angel Colon                          1141908
123   Similarly Situated   Sharhonda Whitehead                  1139297
124   Similarly Situated   Jellika Naranjo                      1131097
125   Similarly Situated   April Rogers                         1126384
126   Similarly Situated   Eleazar Paz                          1123184
127   Similarly Situated   Carl Halstead                        1123134
128   Similarly Situated   Osiewundo Ayuba                      1123077
129   Similarly Situated   Paul Davis Ii                        1112439
130   Similarly Situated   Tarrie Harrison                      1106376
131   Similarly Situated   Nicholas Carentz                     1106349
132   Similarly Situated   Krystal Ellis                        1106345
133   Similarly Situated   Robert Haynes                        1092792
134   Similarly Situated   Ana O'Neal                           1082709
135   Similarly Situated   Howard Thompson                      1055291
136   Similarly Situated   Stacey Glover                        1051947
137   Similarly Situated   Odessa Semple                        1051791
138   Similarly Situated   Gennady Korets                       1044763
139   Similarly Situated   Latarsha Peoples                     1089548
140   Similarly Situated   Desiree Willoughby                   1026564
141   Similarly Situated   Leandro Collado                      1025664
142   Similarly Situated   John Lundstrom                       1025659
143   Similarly Situated   Traniece Mott                        1020252
144   Similarly Situated   Jevina Gordon                        1016804




                                              Page 3 of 54
Case 1:20-cv-09641-ALC-SDA             Document 168-3            Filed 07/15/24   Page 20 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                 Full Name              EIN Number

145   Similarly Situated   Gerron Wade                          1012211
146   Similarly Situated   Vanessa Allen                        1012159
147   Similarly Situated   Brian Martin                         1012122
148   Similarly Situated   Raymond Sanchez                      1002351
149   Similarly Situated   Helene Vanterpool                    1000509
150   Similarly Situated   Derrick Quiles                       1000479
151   Similarly Situated   Robert Gottlieb                      1000245
152   Similarly Situated   Gregory Blyden                       1000180
153   Similarly Situated   Beri Beltrez                          996519
154   Similarly Situated   Wakim Banks                           996512
155   Similarly Situated   Debasish Baral                        977891
156   Similarly Situated   Brenda Thompson                       976165
157   Similarly Situated   Elizabeth Santana                     904125
158   Similarly Situated   Noel Cruz                             897297
159   Similarly Situated   La Keshia Rodolphus                   868925
160   Similarly Situated   Noemi Cruz                            861827
161   Similarly Situated   Eric Cohn                             812742
162   Similarly Situated   Jemal Jones                           772140
163   Similarly Situated   Brian Rees                            614226
164   Similarly Situated   Christopher Woodriffe                 601732
165   Similarly Situated   Ltanya Charles                        601577
166   Similarly Situated   Raquisha Harris                       595039
167   Similarly Situated   Sara Ariz-Cabrera                     595025
168   Similarly Situated   Natasha Heckstall                     595013
169   Similarly Situated   Patrice Grant                         594993
170   Similarly Situated   Tasha Anderson                        588139
171   Similarly Situated   Tawana Conley                         582851
172   Similarly Situated   Tashara Mcfarlane                     582793
173   Similarly Situated   Abiola Wong                           581882
174   Similarly Situated   Leshaunna Pierce                      574340
175   Similarly Situated   Tahiesha Hollington                   564022
176   Similarly Situated   Michael Muir                          543808
177   Similarly Situated   Jose Perez                            538329
178   Similarly Situated   Ebony Cottman                         538055
179   Similarly Situated   Melissa Morris                        537854
180   Similarly Situated   Ingrid Garcia                         534295
181   Similarly Situated   Nicole Spencer                        531642
182   Similarly Situated   Roslyn Mccall                         529978
183   Similarly Situated   Craig Pierce                          523418
184   Similarly Situated   Fritz Perpignand                      523339
185   Similarly Situated   Dawn Kirkland                         522024
186   Similarly Situated   Deannine Teague                       516663
187   Similarly Situated   Dehlia Rochester                      511907
188   Similarly Situated   Clyde Pope                            511661
189   Similarly Situated   Patrick Brown                         507618
190   Similarly Situated   Eladia Clark                          500578
191   Similarly Situated   Latanya Brown                         471556
192   Similarly Situated   Nathaniel Been                        463567




                                              Page 4 of 54
Case 1:20-cv-09641-ALC-SDA             Document 168-3            Filed 07/15/24   Page 21 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name               EIN Number

193   Similarly Situated   Stephanie Simms                       463508
194   Similarly Situated   Tina Booker                           463500
195   Similarly Situated   Soraida Cantos                        463426
196   Similarly Situated   Sabrina Hurdle-Arana                  448797
197   Similarly Situated   Donald Meertens                       448742
198   Similarly Situated   Loyla Viau                            448810
199   Similarly Situated   Darren Porter                         428725
200   Similarly Situated   Dennis Wray                           420643
201   Similarly Situated   Beverly Davis                         420497
202   Similarly Situated   Nora Ortiz                            388191
203   Similarly Situated   Barbara Garcia                        367018
204   Similarly Situated   Katina Stubbs                         362162
205   Similarly Situated   L' Taya Famble-Grier                  359084
206   Similarly Situated   Patricia Michel                       350602
207   Similarly Situated   Michele Galloway                      343183
208   Similarly Situated   Berletter Crawford                    313817
209   Similarly Situated   Sonja Williams                        296980
210   Similarly Situated   Deborah Pickett                       274460
211   Similarly Situated   Anthony Williams                      263673
212   Similarly Situated   Paulette Jackson                      244117
213   Similarly Situated   Clifford Morgan                       198700
214   Similarly Situated   Marie Slaughter                       198691
215   Similarly Situated   Adam Evans                            190982
216   Similarly Situated   Kristen Marzan                       1870076
217   Similarly Situated   Kenny Bernadin                       1869906
218   Similarly Situated   Cynthia Guity                        1869434
219   Similarly Situated   Naim Coakley                         1858234
220   Similarly Situated   Yanelys Urena                        1858224
221   Similarly Situated   Giann Rosa                           1854693
222   Similarly Situated   Gilberto Rodriguez                   1854692
223   Similarly Situated   Kimberly Smith                       1854690
224   Similarly Situated   Eugenio Garcia                       1854562
225   Similarly Situated   Noel Guzman                          1854348
226   Similarly Situated   Marvin Tomlinson                     1853392
227   Similarly Situated   Dontae Walker                        1853381
228   Similarly Situated   Salina Mcalvin                       1853356
229   Similarly Situated   Gena Felton                          1716319
230   Similarly Situated   Mylasia Benton                       1714933
231   Similarly Situated   Ransford Smith                       1701130
232   Similarly Situated   Haile Fiore                          1701127
233   Similarly Situated   Mina Selwanes                        1700862
234   Similarly Situated   Noureddine Rahali                    1700856
235   Similarly Situated   Xenia Pafitis                        1700851
236   Similarly Situated   Ivan Nestserav                       1700849
237   Similarly Situated   Steven Mercogliano                   1700846
238   Similarly Situated   Mina Ibrahim                         1700841
239   Similarly Situated   Katherine Devito                     1700834
240   Similarly Situated   Brendan Churbuck                     1700830




                                              Page 5 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3           Filed 07/15/24   Page 22 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name             EIN Number

241   Similarly Situated   Kerolos Betros                     1700827
242   Similarly Situated   Anderson Villanueva                1700816
243   Similarly Situated   Justin Sweberg                     1700809
244   Similarly Situated   Andres Riano Rubio                 1700795
245   Similarly Situated   Ana Riano Rubio                    1700794
246   Similarly Situated   Charlene Restituyo                 1700792
247   Similarly Situated   Miguel Ramirez                     1700790
248   Similarly Situated   William Quinonez                   1700788
249   Similarly Situated   Mayra Pico                         1700785
250   Similarly Situated   Hermer Perez                       1700782
251   Similarly Situated   Brian Mata                         1700770
252   Similarly Situated   Ivanna Lopez                       1700765
253   Similarly Situated   Jean Lantigua Pena                 1700764
254   Similarly Situated   Shawn Holland                      1700763
255   Similarly Situated   Andreina Gomez                     1700757
256   Similarly Situated   Dave Garcia                        1700756
257   Similarly Situated   Johalys Gomez Rodriguez            1700752
258   Similarly Situated   Edwin Correa Lopez                 1700749
259   Similarly Situated   Miguel Contreras Mejia             1700748
260   Similarly Situated   Yuseluf Collins                    1700746
261   Similarly Situated   Ygnacio Collado                    1700745
262   Similarly Situated   Caitlin Berrios                    1700736
263   Similarly Situated   Steven Asencio                     1700734
264   Similarly Situated   Bryan Alcantara                    1700731
265   Similarly Situated   Daisy Abad                         1700727
266   Similarly Situated   Jay Weng                           1700722
267   Similarly Situated   Asha Thompson                      1700721
268   Similarly Situated   Palwinder Singh                    1700718
269   Similarly Situated   Tharitar Serna                     1700717
270   Similarly Situated   Md Rashid                          1700715
271   Similarly Situated   Aamir Khalid                       1700710
272   Similarly Situated   Rezaul Karim                       1700709
273   Similarly Situated   Md Arafin                          1700697
274   Similarly Situated   Vencent Abraham                    1700696
275   Similarly Situated   Chetanpreet Singh                  1700693
276   Similarly Situated   Richard Wright                     1700689
277   Similarly Situated   Leon Williams                      1700688
278   Similarly Situated   Devon Williams                     1700686
279   Similarly Situated   Tracey Whilby                      1700685
280   Similarly Situated   Dwayne Wedderburn                  1700684
281   Similarly Situated   Shanice Stewart                    1700678
282   Similarly Situated   Jessica Mills                      1700656
283   Similarly Situated   Brian Michel                       1700655
284   Similarly Situated   Craig Mccoy                        1700652
285   Similarly Situated   Latisha Lewis                      1700648
286   Similarly Situated   Kevin Legerme                      1700647
287   Similarly Situated   Roslyn Kingston Jeffer             1700644
288   Similarly Situated   Gerard Hunter                      1700633




                                            Page 6 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3            Filed 07/15/24   Page 23 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name              EIN Number

289   Similarly Situated   Jamal Hodges                        1700632
290   Similarly Situated   Javaughn Edwards                    1700618
291   Similarly Situated   Rodney Dumornay Jr                  1700615
292   Similarly Situated   Sarah Dowding                       1700614
293   Similarly Situated   Nashari Dinkins                     1700613
294   Similarly Situated   Andre Daughtry                      1700611
295   Similarly Situated   Claudashler Bonaventure             1700595
296   Similarly Situated   Richie Barthold                     1700592
297   Similarly Situated   Cheyenne Baptiste                   1700591
298   Similarly Situated   Roodjery Ardouin                    1700590
299   Similarly Situated   Andrew Anthony                      1700588
300   Similarly Situated   Sidney Alvarez                      1700587
301   Similarly Situated   Kayla Durjan                        1696936
302   Similarly Situated   Kristen Lonnborg                    1696673
303   Similarly Situated   Jairo Lopez                         1692333
304   Similarly Situated   Ugur Goktan                         1675133
305   Similarly Situated   Edwin Zephyrine                     1675057
306   Similarly Situated   William Yang                        1675055
307   Similarly Situated   Andrew Williams Jr                  1675049
308   Similarly Situated   Mark Williams                       1675047
309   Similarly Situated   Deniece Williams                    1675045
310   Similarly Situated   Luis Velez                          1675038
311   Similarly Situated   Kayla Tomasik                       1675025
312   Similarly Situated   Nia Thomas                          1675024
313   Similarly Situated   Tahan Terrell                       1675022
314   Similarly Situated   Dianne Speede-Gilbert               1675020
315   Similarly Situated   Judith Solis                        1675016
316   Similarly Situated   Magdalena Sokolowska                1675015
317   Similarly Situated   Kelton Snagg                        1675013
318   Similarly Situated   Denica Snagg                        1675012
319   Similarly Situated   Zhiming Rong                        1674999
320   Similarly Situated   Binah Previl                        1674984
321   Similarly Situated   Natasha Perez                       1674976
322   Similarly Situated   Julian Padilla                      1674968
323   Similarly Situated   Scottie Moran                       1674953
324   Similarly Situated   James Michie                        1674948
325   Similarly Situated   Pilar Mejia                         1674946
326   Similarly Situated   Aura Matthew                        1674943
327   Similarly Situated   Jesus Martinez                      1674941
328   Similarly Situated   Diego Marcial                       1674938
329   Similarly Situated   Eric Maldonado                      1674934
330   Similarly Situated   Ilane Maignant                      1674933
331   Similarly Situated   Adriana Leon                        1674925
332   Similarly Situated   Leslie Ann Lawrence                 1674921
333   Similarly Situated   Idrissa Kouanda                     1674919
334   Similarly Situated   Christopher Konecny                 1674917
335   Similarly Situated   Jacques Kalombo                     1674913
336   Similarly Situated   Melina Juliano                      1674912




                                             Page 7 of 54
Case 1:20-cv-09641-ALC-SDA             Document 168-3             Filed 07/15/24   Page 24 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                 Full Name               EIN Number

337   Similarly Situated   Darrington James                      1674906
338   Similarly Situated   Jacqueline Henry                      1674899
339   Similarly Situated   Shannette Gray                        1674896
340   Similarly Situated   Pedro Garcia                          1674884
341   Similarly Situated   Dane Francois                         1674880
342   Similarly Situated   Andre Fils                            1674874
343   Similarly Situated   Anthony Ferrante                      1674873
344   Similarly Situated   Kevin Espinal                         1674870
345   Similarly Situated   Barbara Engel                         1674867
346   Similarly Situated   Maliek Emerson                        1674865
347   Similarly Situated   William Dossena                       1674860
348   Similarly Situated   Andre Diaz                            1674856
349   Similarly Situated   Kevin Cuellar                         1674848
350   Similarly Situated   China Crosby                          1674846
351   Similarly Situated   Enyinnaya Chukwukere                  1674839
352   Similarly Situated   Austin Chase                          1674835
353   Similarly Situated   Jean Marc Celestin                    1674832
354   Similarly Situated   Jarel Castma                          1674829
355   Similarly Situated   Avianca Carter                        1674827
356   Similarly Situated   Charles Blue                          1674809
357   Similarly Situated   Neil Bedasee                          1674806
358   Similarly Situated   Anthony Baiardi                       1674797
359   Similarly Situated   Erika Baggett                         1674796
360   Similarly Situated   Christian Atkinson-Davis              1674794
361   Similarly Situated   Lucy Acevedo Valerio                  1674788
362   Similarly Situated   Yohan Smith                           1658802
363   Similarly Situated   Kimberly Montanez                     1651757
364   Similarly Situated   Maggie Zhao                           1651652
365   Similarly Situated   Alexis Zeiser                         1651648
366   Similarly Situated   Samuel Yeboah                         1651643
367   Similarly Situated   Jenisis Washington                    1651628
368   Similarly Situated   Dejon Vinson                          1651620
369   Similarly Situated   Jeffrey Ventura                       1651616
370   Similarly Situated   Christopher Vasquez                   1651613
371   Similarly Situated   Jordan Varlack                        1651612
372   Similarly Situated   Jacquelyn Valvo                       1651608
373   Similarly Situated   Jhan Taveras                          1651583
374   Similarly Situated   Daniel Sydlo                          1651578
375   Similarly Situated   Mohammed Suleiman                     1651576
376   Similarly Situated   Gabrielle Stimphil                    1651572
377   Similarly Situated   Michael Siu                           1651555
378   Similarly Situated   Matthew Sclafani                      1651543
379   Similarly Situated   Anthony Saturni                       1651541
380   Similarly Situated   Psymon Rotachev                       1651521
381   Similarly Situated   Stepfanie Rodriguez                   1651512
382   Similarly Situated   Hermes Rodriguez                      1651508
383   Similarly Situated   Elizabeth Rodriguez                   1651506
384   Similarly Situated   Brooke Roberts                        1651501




                                               Page 8 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3            Filed 07/15/24   Page 25 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name              EIN Number

385   Similarly Situated   Justin Rivera                       1651499
386   Similarly Situated   Hodges Richardson Iii               1651494
387   Similarly Situated   Travis Richards                     1651492
388   Similarly Situated   Julymarie Reyes Oliveras            1651490
389   Similarly Situated   Monica Recalde - Anasi              1651487
390   Similarly Situated   Raquel Rawlins                      1651485
391   Similarly Situated   Mir Rashid                          1651484
392   Similarly Situated   Jasmine Raphael                     1651482
393   Similarly Situated   Rafael Ramos                        1651478
394   Similarly Situated   Jahnice Poblador                    1651462
395   Similarly Situated   Damion Pelotte                      1651443
396   Similarly Situated   Anabel Paulino Tavarez              1651442
397   Similarly Situated   Shanea Parson                       1651437
398   Similarly Situated   Michael Pagonis                     1651432
399   Similarly Situated   Brittney Pagano                     1651431
400   Similarly Situated   Ulas Ozturk                         1651429
401   Similarly Situated   Reyson Ogando Russell               1651419
402   Similarly Situated   Carlos Nunez                        1651417
403   Similarly Situated   Yovani Mota                         1651402
404   Similarly Situated   Ruben Mota                          1651401
405   Similarly Situated   Sean Morgan                         1651399
406   Similarly Situated   Christian Morell                    1651398
407   Similarly Situated   Samuel Mills                        1651387
408   Similarly Situated   Bianca Meek                         1651377
409   Similarly Situated   Jesus Martinez                      1651359
410   Similarly Situated   Akeel Marsh                         1651357
411   Similarly Situated   Daniel Manz                         1651355
412   Similarly Situated   Ingrid Machado                      1651348
413   Similarly Situated   Brenda Lumezi                       1651347
414   Similarly Situated   Jack Lazarevic                      1651331
415   Similarly Situated   Laquaisha Lawson                    1651330
416   Similarly Situated   Joseph Laurie                       1651329
417   Similarly Situated   Tarun Kumar                         1651322
418   Similarly Situated   Michelle Krouse                     1651320
419   Similarly Situated   Stamatis Karamanos                  1651301
420   Similarly Situated   Lahai Johnson                       1651292
421   Similarly Situated   Yarreyny Jimenez Peguero            1651288
422   Similarly Situated   Shawn Hobbs                         1651273
423   Similarly Situated   Feng He                             1651266
424   Similarly Situated   Tanei Harris                        1651260
425   Similarly Situated   Tanya Guthrie                       1651252
426   Similarly Situated   Michell Griffith                    1651246
427   Similarly Situated   Christine Greaves                   1651242
428   Similarly Situated   Marie Grande                        1651239
429   Similarly Situated   Kelvin Gomez                        1651234
430   Similarly Situated   Arlene Gomez                        1651233
431   Similarly Situated   Joyce Gibson                        1651229
432   Similarly Situated   Haralambos Gatsos                   1651228




                                             Page 9 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 26 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name               EIN Number

433   Similarly Situated   Quitze Garcia                        1651224
434   Similarly Situated   Thomas Gandley                       1651219
435   Similarly Situated   Stephen Galli                        1651218
436   Similarly Situated   Christopher Gallagher                1651216
437   Similarly Situated   Salvatore Festa                      1651208
438   Similarly Situated   Raymond Estrella                     1651192
439   Similarly Situated   Richard Economos                     1651181
440   Similarly Situated   Raymond Duran                        1651178
441   Similarly Situated   Jennifer Dimaggio-Campos             1651174
442   Similarly Situated   Brandon Deloatch                     1651162
443   Similarly Situated   Stephanie Custodio                   1651150
444   Similarly Situated   David Coley                          1651140
445   Similarly Situated   Andrew Clarke                        1651138
446   Similarly Situated   Dominik Cichocki                     1651132
447   Similarly Situated   Claudia Castro                       1651119
448   Similarly Situated   Lancedale Calderon                   1651106
449   Similarly Situated   Nadine Brown                         1651099
450   Similarly Situated   Micah Brown                          1651098
451   Similarly Situated   Sean Brophy                          1651097
452   Similarly Situated   Edwin Brian                          1651096
453   Similarly Situated   Daniel Brenner                       1651095
454   Similarly Situated   Angel Barrella Gonzalez              1651072
455   Similarly Situated   Nigel Barney                         1651071
456   Similarly Situated   Ricky Banks Iii                      1651068
457   Similarly Situated   Jacqueline Baggot                    1651066
458   Similarly Situated   Nethanael Andre                      1651057
459   Similarly Situated   Racquel Anderson                     1651056
460   Similarly Situated   Mama Amar                            1651054
461   Similarly Situated   Samil Acevedo                        1651035
462   Similarly Situated   Freddy Abreu Jr                      1651030
463   Similarly Situated   Dia Abdallah                         1651026
464   Similarly Situated   Karyn Samuel                         1650994
465   Similarly Situated   Lismary Cotto-Montanez               1643906
466   Similarly Situated   Arielle Lee                          1640597
467   Similarly Situated   Cola Jade                            1640073
468   Similarly Situated   Tanisha Dudley                       1632742
469   Similarly Situated   Sheryl Brown                         1625759
470   Similarly Situated   Thomas Stewart                       1625754
471   Similarly Situated   Jonathan Proano                      1625476
472   Similarly Situated   Justin Omubo Dede                    1625475
473   Similarly Situated   Braulio Mercedes                     1625473
474   Similarly Situated   Tyesha Robinson                      1625106
475   Similarly Situated   Valeka Peters                        1624882
476   Similarly Situated   Ryan Vu                              1624874
477   Similarly Situated   Sherika Tyrell                       1624871
478   Similarly Situated   Johanny Taveras                      1624866
479   Similarly Situated   Andrew Smith                         1624865
480   Similarly Situated   Abigail Rowley                       1624861




                                             Page 10 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 27 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name               EIN Number

481   Similarly Situated   Jimmy Point Du Jour                  1624857
482   Similarly Situated   Wesley Moise                         1624853
483   Similarly Situated   Kelvin Gil                           1624840
484   Similarly Situated   Alvin Alba                           1624820
485   Similarly Situated   Reginald Walker                      1624818
486   Similarly Situated   Kevin Veizaj                         1624817
487   Similarly Situated   Jeffrey Theophile                    1624813
488   Similarly Situated   Ciera Smalls                         1624811
489   Similarly Situated   Adana Rose                           1624805
490   Similarly Situated   Peter Nardacci                       1624797
491   Similarly Situated   Maribel Mota                         1624796
492   Similarly Situated   Marvin Leonard                       1624788
493   Similarly Situated   Emitt Hightower                      1624783
494   Similarly Situated   Niyetta Gourdine                     1624781
495   Similarly Situated   Alexander Garcia                     1624779
496   Similarly Situated   Trisan Dougal                        1624773
497   Similarly Situated   Reynaldo Cordero                     1624769
498   Similarly Situated   Kenisha Ciccotelli                   1624767
499   Similarly Situated   Mabel Castillo                       1624765
500   Similarly Situated   Syed Arifin                          1624759
501   Similarly Situated   Simmone Manigault-Harrison           1624737
502   Similarly Situated   Jamila White                         1624645
503   Similarly Situated   Errol Warner                         1624639
504   Similarly Situated   Kourtney Talton                      1624625
505   Similarly Situated   Yesenia Robles-Farley                1624482
506   Similarly Situated   Yuseff Carr                          1624419
507   Similarly Situated   Mohammad Ahmad                       1624373
508   Similarly Situated   Myroslava Mahabadi                   1624369
509   Similarly Situated   Handerson Elise                      1624367
510   Similarly Situated   Jonathan Pagan Colon                 1624354
511   Similarly Situated   Laverquista Steele                   1624339
512   Similarly Situated   Edward Barden                        1624338
513   Similarly Situated   Adeolabisi Kazeem                    1624335
514   Similarly Situated   Warle Arias                          1624332
515   Similarly Situated   Christopher Flor                     1624325
516   Similarly Situated   David Fana                           1624303
517   Similarly Situated   Monica Lora                          1624286
518   Similarly Situated   Shaun Hansen                         1624276
519   Similarly Situated   Justin Abasi                         1624273
520   Similarly Situated   Evelyn Camacho                       1624271
521   Similarly Situated   Felicia King                         1624261
522   Similarly Situated   Najahana Perez                       1624256
523   Similarly Situated   Anthony Lewis                        1624234
524   Similarly Situated   Louis Elrose Iii                     1624232
525   Similarly Situated   Grantley Bishop                      1624211
526   Similarly Situated   Anthony Festa                        1624192
527   Similarly Situated   Julia Luquis                         1624191
528   Similarly Situated   Jeremy Mohan                         1624182




                                             Page 11 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 28 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name               EIN Number

529   Similarly Situated   John Aspinall                        1624179
530   Similarly Situated   John Medina                          1624176
531   Similarly Situated   Jonathan Suarez                      1624173
532   Similarly Situated   Lansworth Tyrell                     1624169
533   Similarly Situated   Elyan Othman                         1624167
534   Similarly Situated   Kimberly Hanchard                    1624166
535   Similarly Situated   Andrew Wint                          1624150
536   Similarly Situated   Rose Attimy                          1624148
537   Similarly Situated   Raven Dillahunt                      1624141
538   Similarly Situated   Jericka Diaz                         1624133
539   Similarly Situated   Oscar Perez                          1624129
540   Similarly Situated   Natalie Kwakye                       1624120
541   Similarly Situated   Molenaux Parker                      1624109
542   Similarly Situated   Latacha Lenzy                        1624108
543   Similarly Situated   Essence Hunt                         1624102
544   Similarly Situated   Michael Martinez                     1624096
545   Similarly Situated   Betsy Blanco                         1624093
546   Similarly Situated   Ysmael Ricardo                       1624090
547   Similarly Situated   Vanessa Galy                         1624083
548   Similarly Situated   Kevin Schlanger                      1624082
549   Similarly Situated   Ricky Joseph                         1624070
550   Similarly Situated   Nicholas Dirico                      1624062
551   Similarly Situated   Beethoven Payamps                    1624060
552   Similarly Situated   Yousef Arefieg                       1624057
553   Similarly Situated   Warren Seraphin                      1624056
554   Similarly Situated   Monnero Guervil                      1624049
555   Similarly Situated   Gabriel Martorella                   1624041
556   Similarly Situated   Jennine Abou Abdallah                1624025
557   Similarly Situated   Loren Parisella                      1624024
558   Similarly Situated   Robert Mendoza                       1624020
559   Similarly Situated   Jovanny Concepcion                   1624014
560   Similarly Situated   Lukasz Mokrzycki                     1624006
561   Similarly Situated   Kenneth Roberts                      1624005
562   Similarly Situated   Nicholas Ortiz-Torres                1624004
563   Similarly Situated   Yorkina Torres M                     1624000
564   Similarly Situated   Alexa Santiago                       1623998
565   Similarly Situated   Caitlyn Angioletti                   1623997
566   Similarly Situated   Michael Sanchez                      1623995
567   Similarly Situated   Nicholas Rivera                      1623979
568   Similarly Situated   Branden Escobar                      1623978
569   Similarly Situated   Doris Clifford                       1623971
570   Similarly Situated   Kirby Kurkomelis                     1623970
571   Similarly Situated   Kevin Woodroffe                      1623968
572   Similarly Situated   Md Shifullah                         1623960
573   Similarly Situated   Kayla Rosado                         1623952
574   Similarly Situated   Stephanie Valme                      1623946
575   Similarly Situated   Zenetria Williams                    1623939
576   Similarly Situated   Chayanne Fabre                       1623938




                                             Page 12 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 29 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name               EIN Number

577   Similarly Situated   Amanda Valentin                      1623923
578   Similarly Situated   Deyan Kazakov                        1623922
579   Similarly Situated   Leonard Leslie Iii                   1623913
580   Similarly Situated   Wing Chun Ip                         1623911
581   Similarly Situated   Amy Mason                            1623910
582   Similarly Situated   Steven Lopez                         1623906
583   Similarly Situated   Vincent Santangelo                   1623903
584   Similarly Situated   Michael Guerrini                     1623902
585   Similarly Situated   Suquan Walcott                       1623895
586   Similarly Situated   Kristen Schuch                       1623888
587   Similarly Situated   Luis Murria                          1623882
588   Similarly Situated   Yira Caceres                         1623873
589   Similarly Situated   Gil Callaway                         1532710
590   Similarly Situated   David Adamczyk                       1623870
591   Similarly Situated   David Cadet                          1623869
592   Similarly Situated   Isaac Altidor                        1623866
593   Similarly Situated   Benjamin Lopez                       1623860
594   Similarly Situated   Salvatore Damico                     1623859
595   Similarly Situated   Tatiana Arena                        1623854
596   Similarly Situated   Patrick Simono                       1623850
597   Similarly Situated   Marlon Washington                    1623843
598   Similarly Situated   Jason Stapleton                      1623840
599   Similarly Situated   Bryan Spencer Ii                     1623833
600   Similarly Situated   Jacob Ramos                          1623831
601   Similarly Situated   Theresa Ehring                       1623827
602   Similarly Situated   Diona Velez                          1623818
603   Similarly Situated   Junette Stevens                      1623814
604   Similarly Situated   Piotr Trusewicz                      1623811
605   Similarly Situated   Nathaly Pujols Vasquez               1623805
606   Similarly Situated   Akin Hodge                           1623804
607   Similarly Situated   Venessa Harty                        1623803
608   Similarly Situated   Ruben Casas                          1623796
609   Similarly Situated   Sable Hill                           1623795
610   Similarly Situated   Karin Edwards                        1623794
611   Similarly Situated   Donald Rodriguez                     1623786
612   Similarly Situated   Manuel Garcia                        1623781
613   Similarly Situated   Gregory Kellman                      1623778
614   Similarly Situated   Tiffany Berry                        1623773
615   Similarly Situated   Okoro Egwu                           1623771
616   Similarly Situated   Deion Boston                         1623768
617   Similarly Situated   Christopher Rosario                  1623755
618   Similarly Situated   Zhi Hui Liu                          1623754
619   Similarly Situated   Fanes Jean                           1623752
620   Similarly Situated   Krystal Velasquez                    1623749
621   Similarly Situated   Jason Savallo                        1623745
622   Similarly Situated   Andrew Roberts Bolan                 1623744
623   Similarly Situated   Jessica Marmolejos                   1623737
624   Similarly Situated   Vallee Carey                         1623734




                                             Page 13 of 54
Case 1:20-cv-09641-ALC-SDA              Document 168-3             Filed 07/15/24   Page 30 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                 Full Name                EIN Number

625   Similarly Situated   Jonathan Winter                        1623733
626   Similarly Situated   Yohanmi Mena                           1623730
627   Similarly Situated   Derek Waage                            1623726
628   Similarly Situated   Md Amir Hosen                          1623725
629   Similarly Situated   Jerry Saladin                          1623724
630   Similarly Situated   Hussein Abuasi                         1623722
631   Similarly Situated   Shadasia Cunningham                    1623720
632   Similarly Situated   Melaina Granville                      1623709
633   Similarly Situated   Jonathan Wile                          1623706
634   Similarly Situated   Matthew Burkey                         1623699
635   Similarly Situated   Joseph Rosado Ii                       1623687
636   Similarly Situated   Veronica Mclaughlin                    1623678
637   Similarly Situated   Brittney Williams                      1623672
638   Similarly Situated   Brett Knott                            1623671
639   Similarly Situated   Narendra Persaud                       1623667
640   Similarly Situated   Lashaunda Bambaata                     1623666
641   Similarly Situated   Yiris Morales                          1623663
642   Similarly Situated   Craig Littlefield                      1623662
643   Similarly Situated   Dimitry Pierre-Francois                1623659
644   Similarly Situated   Rashawn Assanah                        1623656
645   Similarly Situated   Hianka Jerez                           1623649
646   Similarly Situated   Joseph Weinberg                        1623647
647   Similarly Situated   Christopher Walker                     1623645
648   Similarly Situated   Deniqua Young                          1623643
649   Similarly Situated   Kevin Molina                           1623640
650   Similarly Situated   Christopher Prawl                      1623636
651   Similarly Situated   Tyliek Jerry                           1623634
652   Similarly Situated   Elizabeth Flores                       1623627
653   Similarly Situated   Patrick Grant                          1620159
654   Similarly Situated   Shakiyla Peart                         1616194
655   Similarly Situated   Tiffany Coriolan                       1615233
656   Similarly Situated   Tiesha Everett                         1614919
657   Similarly Situated   Michael Chen                           1604142
658   Similarly Situated   Marcia Wynter                          1603873
659   Similarly Situated   Martin Yip                             1602106
660   Similarly Situated   Aurora Troche                          1602001
661   Similarly Situated   Kedian Lyons                           1601958
662   Similarly Situated   Keith Kerrane                          1601954
663   Similarly Situated   Duane James                            1601953
664   Similarly Situated   Drake Atkins Ii                        1601920
665   Similarly Situated   Dale Warwick                           1601700
666   Similarly Situated   John Zeppieri                          1601686
667   Similarly Situated   Dennis Yeung                           1601682
668   Similarly Situated   Deasia Williams                        1601672
669   Similarly Situated   Andy Vasquez                           1601650
670   Similarly Situated   Damien Valentine                       1601647
671   Similarly Situated   Hue Truong                             1601634
672   Similarly Situated   Richard Troche                         1601633




                                               Page 14 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3            Filed 07/15/24   Page 31 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type               Full Name               EIN Number

673   Similarly Situated   Poholassiki Tchodie                 1601619
674   Similarly Situated   Natia Taylor                        1601617
675   Similarly Situated   Stenley Succes                      1601610
676   Similarly Situated   Michael Sparacio                    1601603
677   Similarly Situated   Peter Sosa                          1601602
678   Similarly Situated   Samantha Smith                      1601597
679   Similarly Situated   Bria Smith                          1601595
680   Similarly Situated   Emmanuel Simon                      1601591
681   Similarly Situated   Corley Simon                        1601590
682   Similarly Situated   Rickeno Sealey                      1601577
683   Similarly Situated   Sarah Sarter                        1601572
684   Similarly Situated   Isaac Sabach                        1601566
685   Similarly Situated   Edgar Rosario                       1601561
686   Similarly Situated   Matthew Rosado                      1601558
687   Similarly Situated   Vanessa Roldan                      1601553
688   Similarly Situated   Taylor Rogers                       1601543
689   Similarly Situated   Dominique Robert                    1601541
690   Similarly Situated   Justice Richardson                  1601534
691   Similarly Situated   Mario Requena                       1601528
692   Similarly Situated   Wendoly Ramos Alvarez               1601519
693   Similarly Situated   Melissa Ramos                       1601517
694   Similarly Situated   Namil Ramirez                       1601516
695   Similarly Situated   Nicholas Prensa                     1601509
696   Similarly Situated   Manuel Polanco                      1601507
697   Similarly Situated   Bastien Petitca                     1601498
698   Similarly Situated   Gina Petchonka                      1601496
699   Similarly Situated   Vicky Pesantes                      1601495
700   Similarly Situated   Mary Pesantes                       1601494
701   Similarly Situated   Freddy Perez                        1601489
702   Similarly Situated   Brandon Pearce                      1601483
703   Similarly Situated   Darlyshi Palacio                    1601477
704   Similarly Situated   Gilbert Oyola                       1601474
705   Similarly Situated   Ryshia O'Riley                      1601472
706   Similarly Situated   Pedro Oliva                         1601467
707   Similarly Situated   Timothy O'Brien                     1601465
708   Similarly Situated   Jeannie Nunez                       1601464
709   Similarly Situated   Safraz Newton                       1601461
710   Similarly Situated   Avian Negron                        1601458
711   Similarly Situated   Michael Nardone                     1601455
712   Similarly Situated   Roudjeri Napoleon                   1601454
713   Similarly Situated   John Munoz                          1601451
714   Similarly Situated   Marcus Morton                       1601446
715   Similarly Situated   Michael Mooney                      1601437
716   Similarly Situated   Jeremy Montperous                   1601435
717   Similarly Situated   Randolf Montalvo                    1601433
718   Similarly Situated   Alexa Medina                        1601416
719   Similarly Situated   Fay-Ann Mcewen                      1601413
720   Similarly Situated   Megan Martinez                      1601412




                                            Page 15 of 54
Case 1:20-cv-09641-ALC-SDA             Document 168-3             Filed 07/15/24   Page 32 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name                EIN Number

721   Similarly Situated   Leah Mathieu                          1601410
722   Similarly Situated   Nigel Martin                          1601407
723   Similarly Situated   Ramon Marrero                         1601406
724   Similarly Situated   Albert Lorusso                        1601395
725   Similarly Situated   Sharnel Lessey                        1601382
726   Similarly Situated   Danielle Leslie                       1601381
727   Similarly Situated   Jason Leon                            1601379
728   Similarly Situated   Besim Lajqi                           1601374
729   Similarly Situated   Philip Kim                            1601370
730   Similarly Situated   Ioannis Kalogeras                     1601363
731   Similarly Situated   David Kalash                          1601361
732   Similarly Situated   Akorede Junaid                        1601358
733   Similarly Situated   Dino Jose                             1601355
734   Similarly Situated   Romaine Jones                         1601354
735   Similarly Situated   Rony Joachim                          1601349
736   Similarly Situated   Anthony Iacono                        1601342
737   Similarly Situated   Eliott Hyacinthe                      1601339
738   Similarly Situated   John Hodge                            1601330
739   Similarly Situated   Sandra Hatchett                       1601320
740   Similarly Situated   Md Hassan                             1601319
741   Similarly Situated   Hasan Hasan                           1601318
742   Similarly Situated   Neil Harrison                         1601316
743   Similarly Situated   Tiffanie Harris                       1601314
744   Similarly Situated   Orville Hall                          1601308
745   Similarly Situated   Jason Guzman                          1601307
746   Similarly Situated   Carla Guzman                          1601306
747   Similarly Situated   Robert Green                          1601302
748   Similarly Situated   Tim Gray                              1601300
749   Similarly Situated   Simon Gordon                          1601295
750   Similarly Situated   Hector Gomez                          1601289
751   Similarly Situated   Tejim Glenn                           1601286
752   Similarly Situated   Verne George                          1601280
753   Similarly Situated   Sherisse George                       1601278
754   Similarly Situated   Donan Gaston                          1601277
755   Similarly Situated   Venesia Fraser                        1601265
756   Similarly Situated   Peter Fontanez                        1601263
757   Similarly Situated   Angelique Fernandez                   1601259
758   Similarly Situated   Deka Ferguson                         1601257
759   Similarly Situated   Guole Feng                            1601256
760   Similarly Situated   Jon Felz Ii                           1601255
761   Similarly Situated   Jessica Feliciano                     1601254
762   Similarly Situated   Wilkerson Exantus                     1601248
763   Similarly Situated   Philippe Duval                        1601237
764   Similarly Situated   William Drouvalakis                   1601233
765   Similarly Situated   Michael Disimone Biggin               1601231
766   Similarly Situated   Anthony Dinicola                      1601229
767   Similarly Situated   Donald Derrick Jr                     1601221
768   Similarly Situated   Steven Dejesus                        1601212




                                              Page 16 of 54
Case 1:20-cv-09641-ALC-SDA             Document 168-3            Filed 07/15/24   Page 33 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name               EIN Number

769   Similarly Situated   Sean Deane                           1601210
770   Similarly Situated   Tyquan Davis                         1601207
771   Similarly Situated   Sherri Davis                         1601206
772   Similarly Situated   Gary Davis                           1601205
773   Similarly Situated   Robert D'Agostino                    1601200
774   Similarly Situated   Travis Cumbo                         1601199
775   Similarly Situated   Anthony Cooper                       1601183
776   Similarly Situated   Eaic Collins                         1601179
777   Similarly Situated   Christopher Chu                      1601173
778   Similarly Situated   Yu Chen                              1601169
779   Similarly Situated   Nelson Castrillon                    1601161
780   Similarly Situated   Kashonna Carter-Panasik              1601159
781   Similarly Situated   Michael Carter                       1601158
782   Similarly Situated   Yarisa Candelier                     1601154
783   Similarly Situated   Eric Bibiano                         1601120
784   Similarly Situated   Steven Bethea                        1601119
785   Similarly Situated   Ana Bergman                          1601116
786   Similarly Situated   Kemuel Benitez                       1601115
787   Similarly Situated   Alix Belizaire                       1601114
788   Similarly Situated   Justin Barthel                       1601107
789   Similarly Situated   Anthony Barrett                      1601105
790   Similarly Situated   Evelyn Barbosa                       1601100
791   Similarly Situated   Dereck Baker                         1601097
792   Similarly Situated   Herminio Astacio                     1601093
793   Similarly Situated   Albert Aslanyan                      1601091
794   Similarly Situated   John Asencio                         1601090
795   Similarly Situated   Joshua Aponte                        1601082
796   Similarly Situated   Jenatea Ahmed                        1601065
797   Similarly Situated   Leroy Abrams                         1601056
798   Similarly Situated   Mishal Abdelhaq                      1601054
799   Similarly Situated   Jenee Russell                        1601050
800   Similarly Situated   Kasey Estelle                        1601044
801   Similarly Situated   Christina Coaker                     1600983
802   Similarly Situated   Dale Bascom                          1600970
803   Similarly Situated   Michael Ridges                       1599634
804   Similarly Situated   Renalis Rojas                        1598008
805   Similarly Situated   Ledwin Araujo                        1590606
806   Similarly Situated   Dennise Castillo                     1589193
807   Similarly Situated   Thomas Keevill                       1587450
808   Similarly Situated   Mackson Polidor                      1584852
809   Similarly Situated   Aminata Sidibe                       1582420
810   Similarly Situated   Karine Michel                        1581840
811   Similarly Situated   Alexis Johnson                       1580257
812   Similarly Situated   Tenessia Castillo-Richmond           1580181
813   Similarly Situated   Crystal Chiaramonte                  1576181
814   Similarly Situated   Tiffany Williams                     1575509
815   Similarly Situated   Maria Naranjo                        1572777
816   Similarly Situated   Syasia Blake                         1571912




                                             Page 17 of 54
Case 1:20-cv-09641-ALC-SDA             Document 168-3            Filed 07/15/24   Page 34 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name               EIN Number

817   Similarly Situated   Marie Mendes                         1563128
818   Similarly Situated   Velora Oliver                        1562059
819   Similarly Situated   Cuayani Tannis                       1562032
820   Similarly Situated   Virginia Vailes                      1562012
821   Similarly Situated   Endia Meekins                        1559035
822   Similarly Situated   Emmanuel Louis                       1558487
823   Similarly Situated   Marylis Pena                         1558480
824   Similarly Situated   Kevin Doherty                        1558348
825   Similarly Situated   Troix Nelson                         1557683
826   Similarly Situated   Scott Wrba                           1557674
827   Similarly Situated   Cassie Williams                      1557667
828   Similarly Situated   Charnaye Watson                      1557664
829   Similarly Situated   William Washington                   1557663
830   Similarly Situated   Jason Wallack                        1557659
831   Similarly Situated   John Vilorio Martinez                1557652
832   Similarly Situated   James Venturino-Holley               1557650
833   Similarly Situated   Abner Vasquez                        1557646
834   Similarly Situated   Mark Vanwinckle                      1557643
835   Similarly Situated   Ryan Tracy                           1557633
836   Similarly Situated   Victoria Sweet                       1557617
837   Similarly Situated   Nicholas Seebaran                    1557589
838   Similarly Situated   William Sanchez                      1557580
839   Similarly Situated   Domingos Salgado                     1557578
840   Similarly Situated   Junior Rodriguez                     1557563
841   Similarly Situated   Sheda Robinson                       1557557
842   Similarly Situated   Benjamin Rizzitello                  1557555
843   Similarly Situated   Jeremy Rivera                        1557554
844   Similarly Situated   Crystaline Ramos                     1557541
845   Similarly Situated   Cesar Pitta                          1557535
846   Similarly Situated   Katrina Patterson                    1557522
847   Similarly Situated   Christopher Oghayore                 1557512
848   Similarly Situated   Moore Nwosu                          1557510
849   Similarly Situated   Rovell Nelson                        1557507
850   Similarly Situated   Galeb Nana                           1557504
851   Similarly Situated   Sharay Morrison                      1557498
852   Similarly Situated   Steven Moi                           1557491
853   Similarly Situated   Amanda Miller                        1557487
854   Similarly Situated   Nicholas Milleew                     1557486
855   Similarly Situated   Oesaal Michel                        1557484
856   Similarly Situated   Annamarie Menichino                  1557482
857   Similarly Situated   Enrique Medina                       1557477
858   Similarly Situated   Willie Mcneil                        1557474
859   Similarly Situated   Hiram Martinez                       1557468
860   Similarly Situated   Shamekia Marshall                    1557466
861   Similarly Situated   Shaakira Lyons                       1557457
862   Similarly Situated   Kristopher Lopez                     1557448
863   Similarly Situated   Jeffrey Leung                        1557440
864   Similarly Situated   Stephan Lespinasse                   1557439




                                             Page 18 of 54
Case 1:20-cv-09641-ALC-SDA             Document 168-3             Filed 07/15/24   Page 35 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name                EIN Number

865   Similarly Situated   Justin Lean                           1557436
866   Similarly Situated   David Kusnirak                        1557430
867   Similarly Situated   Fatimah Joseph                        1557421
868   Similarly Situated   Edwin John                            1557415
869   Similarly Situated   Emma James                            1557404
870   Similarly Situated   Jermaine Hope                         1557399
871   Similarly Situated   Francisco Hidalgo                     1557391
872   Similarly Situated   Kaitlyn Hickey                        1557390
873   Similarly Situated   Melissa Rodriguez                     1557389
874   Similarly Situated   Richy Herrera                         1557388
875   Similarly Situated   Georgian Haywood                      1557383
876   Similarly Situated   Shana Harrison                        1557381
877   Similarly Situated   Natalie Hall                          1557375
878   Similarly Situated   Tiana Green                           1557363
879   Similarly Situated   Robert Goetz                          1557354
880   Similarly Situated   Joseph Farrell                        1557327
881   Similarly Situated   Elizabeth Escobar                     1557320
882   Similarly Situated   Dwayne Ellis                          1557318
883   Similarly Situated   Aaron Edwards                         1557316
884   Similarly Situated   Raoul Del Rosario                     1557300
885   Similarly Situated   Ashley Davis                          1557297
886   Similarly Situated   Tasieka Cummings                      1557289
887   Similarly Situated   Cecilia Cox                           1557283
888   Similarly Situated   Angel Cordero                         1557279
889   Similarly Situated   Isaac Contreras                       1557277
890   Similarly Situated   Alexis Collier                        1557273
891   Similarly Situated   Carl Clacken                          1557269
892   Similarly Situated   Joan Christian-Brady                  1557266
893   Similarly Situated   James Chong                           1557265
894   Similarly Situated   Damon Cheeseboro                      1557263
895   Similarly Situated   James Charles                         1557261
896   Similarly Situated   Ralph Celestin                        1557258
897   Similarly Situated   Cree Campbell                         1557243
898   Similarly Situated   Krystle Burrell                       1557234
899   Similarly Situated   Khamwati Budhai                       1557229
900   Similarly Situated   John Buckley                          1557228
901   Similarly Situated   Demetrius Bryant                      1557227
902   Similarly Situated   Nicholas Brancati                     1557220
903   Similarly Situated   Jenese Belmar                         1557206
904   Similarly Situated   Kenneth Barry                         1557199
905   Similarly Situated   Adelaido Barrera                      1557196
906   Similarly Situated   Ronny Almonte                         1557178
907   Similarly Situated   Francesca Ramos                       1557173
908   Similarly Situated   Ashley Marrero                        1554481
909   Similarly Situated   Ashley Nelson                         1549941
910   Similarly Situated   Ashley Brown                          1549797
911   Similarly Situated   Tiffani Hope                          1548777
912   Similarly Situated   Zhi Dong Zheng                        1548019




                                              Page 19 of 54
Case 1:20-cv-09641-ALC-SDA             Document 168-3             Filed 07/15/24   Page 36 of 73




      Omar Malcolm et al. v. The City of New York
      Listing of All Plaintiffs


                 Type                Full Name                EIN Number

913   Similarly Situated   Dillon Reyes                          1547900
914   Similarly Situated   Nathaniel Barnes                      1547879
915   Similarly Situated   Niyazi Atasever                       1547436
916   Similarly Situated   Marlene Urbaez                        1545973
917   Similarly Situated   Lannel Baker                          1543586
918   Similarly Situated   Kwabena Kudawoo                       1543540
919   Similarly Situated   Chen Min                              1539739
920   Similarly Situated   Kevin Figaro                          1536427
921   Similarly Situated   Jonathan Odino                        1533218
922   Similarly Situated   Alisha Griggs                         1532894
923   Similarly Situated   Sidonie Julien                        1532883
924   Similarly Situated   Elizabeth Pazos                       1532872
925   Similarly Situated   John Cannone                          1532864
926   Similarly Situated   Christopher Sheridan                  1532863
927   Similarly Situated   John Corrigan                         1532858
928   Similarly Situated   David Jimenez                         1532853
929   Similarly Situated   Neil Edwards                          1532836
930   Similarly Situated   Nubian Mcdonald                       1532832
931   Similarly Situated   Shawna Lee                            1532831
932   Similarly Situated   Jesse Hard                            1532830
933   Similarly Situated   Anthony Wright                        1532829
934   Similarly Situated   Christopher Mogil                     1532826
935   Similarly Situated   David Anselmo                         1532819
936   Similarly Situated   Patricia Daniels                      1532816
937   Similarly Situated   Ryan Coyne                            1532807
938   Similarly Situated   Hadiisha Butts                        1532803
939   Similarly Situated   Manuel Feliz                          1532794
940   Similarly Situated   Yamile St Fleur                       1532778
941   Similarly Situated   Keron Ransome                         1532772
942   Similarly Situated   Chris Corkery                         1532764
943   Similarly Situated   Amreetah Pandohie                     1532759
944   Similarly Situated   Qasum Ali                             1532758
945   Similarly Situated   Fabio Peralta                         1532746
946   Similarly Situated   Anthony Rizzo                         1532736
947   Similarly Situated   Jason Iannozzi                        1532725
948   Similarly Situated   Sovanny Eng                           1532723
949   Similarly Situated   Travis Howell                         1532719
950   Similarly Situated   Ricardo Perpignan                     1532717
951   Similarly Situated   Carlene Bobb                          1532716
952   Similarly Situated   Kellin Candelario                     1624345
953   Similarly Situated   Sean Benjes                           1532709
954   Similarly Situated   Betty Luc                             1532708
955   Similarly Situated   Stephanie Tynes                       1532689
956   Similarly Situated   Kemar Josephs                         1532683
957   Similarly Situated   Jesus Fernandez                       1532676
958   Similarly Situated   David Reyes                           1532655
959   Similarly Situated   Nicholas Flagg                        1532650
960   Similarly Situated   Ian Abraham                           1532645




                                              Page 20 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3            Filed 07/15/24   Page 37 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name              EIN Number

 961 Similarly Situated   Robert Walters                      1532641
 962 Similarly Situated   Toya Wallace                        1532637
 963 Similarly Situated   Bryan Nieto                         1532630
 964 Similarly Situated   Roselin Anacacy                     1532618
 965 Similarly Situated   Tracey Campbell                     1532607
 966 Similarly Situated   Joan Dilbert                        1532603
 967 Similarly Situated   Carrie Vincent                      1532596
 968 Similarly Situated   Christopher Leo                     1532593
 969 Similarly Situated   Juan Guzman                         1532592
 970 Similarly Situated   Adriana Burke                       1532589
 971 Similarly Situated   Jason Jefferson                     1532588
 972 Similarly Situated   Lydia Augustin                      1532584
 973 Similarly Situated   Laurice Williams                    1532582
 974 Similarly Situated   Ebony Mcdonald                      1532575
 975 Similarly Situated   Nicholas Boncamper                  1532545
 976 Similarly Situated   Andraea Pittman                     1532540
 977 Similarly Situated   Evan Radle                          1532536
 978 Similarly Situated   Christina Gorden                    1532511
 979 Similarly Situated   Ariel Bello                         1532510
 980 Similarly Situated   Saul De Los Santos                  1532509
 981 Similarly Situated   Joseph Weaver                       1532505
 982 Similarly Situated   Quanee Pray-Green                   1532503
 983 Similarly Situated   Nicholas Trocchia                   1532499
 984 Similarly Situated   Steve Burnett                       1532495
 985 Similarly Situated   Marc Coriolan                       1532494
 986 Similarly Situated   Joshua Steele                       1532492
 987 Similarly Situated   Elliot Ray                          1532486
 988 Similarly Situated   Shiniqua Baker                      1532478
 989 Similarly Situated   Sharon Jordon                       1532476
 990 Similarly Situated   Celeste Haynes-Gibson               1532466
 991 Similarly Situated   Tashana Johnson                     1532459
 992 Similarly Situated   Chantel Hoyte                       1532455
 993 Similarly Situated   Rashad Lyston                       1531605
 994 Similarly Situated   Tomlimson Tchao                     1531351
 995 Similarly Situated   Sajedul Hoque                       1531269
 996 Similarly Situated   Tamica Brown                        1529195
 997 Similarly Situated   Kevin Vann                          1529166
 998 Similarly Situated   Keown King                          1526784
 999 Similarly Situated   Cassandre Laguerre                  1526728
1000 Similarly Situated   Rodrick Aleandre                    1526530
1001 Similarly Situated   Kenneth Barnes                      1525541
1002 Similarly Situated   Patricia Woods                      1524609
1003 Similarly Situated   Bernard Crawford                    1522924
1004 Similarly Situated   Sherae Johnson                      1519700
1005 Similarly Situated   Saqoyah Harrison                    1519589
1006 Similarly Situated   Janiya Richards                     1519402
1007 Similarly Situated   Jessica Arzu                        1519386
1008 Similarly Situated   Latoya Johnson                      1519094




                                           Page 21 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3            Filed 07/15/24   Page 38 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name              EIN Number

1009 Similarly Situated   Chowdhury Morshed                   1519025
1010 Similarly Situated   Muhammad Khaliq                     1519013
1011 Similarly Situated   Raven Mears                         1515846
1012 Similarly Situated   Nigeria Sumpter-Lee                 1512354
1013 Similarly Situated   Raymond Zimmerman                   1510653
1014 Similarly Situated   Tony Williams                       1510644
1015 Similarly Situated   Lia Dawn Williams                   1510642
1016 Similarly Situated   Stefon Watson                       1510637
1017 Similarly Situated   Donavan Waterman                    1510635
1018 Similarly Situated   Joseam Valentin                     1510627
1019 Similarly Situated   Elliot Turner                       1510624
1020 Similarly Situated   Joseph Thomas                       1510620
1021 Similarly Situated   James Thoma                         1510619
1022 Similarly Situated   Charles Sollecito                   1510608
1023 Similarly Situated   Arteak Smith                        1510603
1024 Similarly Situated   Jagnandan Singh                     1510598
1025 Similarly Situated   Mildred Santiago                    1510588
1026 Similarly Situated   Johnathan Rios                      1510566
1027 Similarly Situated   Daniel Riddick                      1510565
1028 Similarly Situated   Charity Richardson                  1510564
1029 Similarly Situated   Yasmine Rezaka                      1510561
1030 Similarly Situated   Sharean Rezaka                      1510560
1031 Similarly Situated   Latisha Parris                      1510540
1032 Similarly Situated   Victor Nzeama                       1510531
1033 Similarly Situated   Akim Neverson                       1510524
1034 Similarly Situated   Chandra Murray                      1510519
1035 Similarly Situated   Gina Montanez                       1510512
1036 Similarly Situated   Sirnita Mcqueen                     1510498
1037 Similarly Situated   Damian Mckenzie                     1510496
1038 Similarly Situated   Victoria Mccord                     1510493
1039 Similarly Situated   Samuel Mazzie                       1510492
1040 Similarly Situated   Jason Maxwell                       1510490
1041 Similarly Situated   Yuriy Malakhov                      1510478
1042 Similarly Situated   Sade Leonard                        1510463
1043 Similarly Situated   Rex Kang                            1510453
1044 Similarly Situated   Leeann Johnson                      1510448
1045 Similarly Situated   Simon Huie                          1510435
1046 Similarly Situated   Richard Hilaire                     1510429
1047 Similarly Situated   Tameka Hayes                        1510424
1048 Similarly Situated   Cecilia Greene                      1510412
1049 Similarly Situated   Scott Green Ii                      1510410
1050 Similarly Situated   Rene Green                          1510409
1051 Similarly Situated   Jenika Goodridge                    1510401
1052 Similarly Situated   Hernando Gonzalez                   1510399
1053 Similarly Situated   Geraldine Gomez                     1510398
1054 Similarly Situated   Analdo Ferreira                     1510370
1055 Similarly Situated   Yvrossie Etienne                    1510365
1056 Similarly Situated   Brian Eliet                         1510363




                                           Page 22 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3            Filed 07/15/24   Page 39 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name              EIN Number

1057 Similarly Situated   Nicole Edwards                      1510362
1058 Similarly Situated   Petersky Dieujuste                  1510350
1059 Similarly Situated   Denise Dennis                       1510347
1060 Similarly Situated   Niema Davis                         1510340
1061 Similarly Situated   Tyana Curtis                        1510334
1062 Similarly Situated   Michael Crisci                      1510330
1063 Similarly Situated   Julius Cottle                       1510328
1064 Similarly Situated   Sade Cooper                         1510326
1065 Similarly Situated   Vincent Ceravino                    1510316
1066 Similarly Situated   Gerald Carter                       1510312
1067 Similarly Situated   Johanna Carlo                       1510311
1068 Similarly Situated   Lamont Brown                        1510298
1069 Similarly Situated   Shaquanna Bradley                   1510291
1070 Similarly Situated   Andre Bascombe                      1510281
1071 Similarly Situated   Taisha Baez                         1510277
1072 Similarly Situated   Faralude Brown                      1510274
1073 Similarly Situated   John Antonetti                      1510273
1074 Similarly Situated   Dwight Anderson                     1510268
1075 Similarly Situated   Dennis Alvarez                      1510266
1076 Similarly Situated   Edward Alagna                       1510260
1077 Similarly Situated   Carl Lawrence                       1507206
1078 Similarly Situated   Quentin Armstrong                   1506025
1079 Similarly Situated   Joseph Pizzo                        1505905
1080 Similarly Situated   Jerry Roman                         1505850
1081 Similarly Situated   Latoya Martin                       1505832
1082 Similarly Situated   Verlene Jinks                       1502691
1083 Similarly Situated   Princess Skinner                    1502220
1084 Similarly Situated   Isaiah Henderson                    1501006
1085 Similarly Situated   Jasmine Brathwaite                  1499085
1086 Similarly Situated   Michael Bushrod                     1498956
1087 Similarly Situated   Mohammad Ali                        1496641
1088 Similarly Situated   Matthew Vazquez                     1494804
1089 Similarly Situated   Comoe Mangoua                       1494706
1090 Similarly Situated   Dashawn Ziglar                      1494651
1091 Similarly Situated   Damaris Correia                     1494625
1092 Similarly Situated   Dejaurnelle Cid                     1493461
1093 Similarly Situated   Tarrell Hendrickson                 1493418
1094 Similarly Situated   Tanesha Wickham                     1493367
1095 Similarly Situated   Martino Pierre                      1493348
1096 Similarly Situated   Katrina Ganpatt                     1493300
1097 Similarly Situated   Alan Ramirez                        1492148
1098 Similarly Situated   Karon Ziglar                        1491655
1099 Similarly Situated   Carl Williams                       1491640
1100 Similarly Situated   Ciro Viscardi                       1491632
1101 Similarly Situated   Duane Titus                         1491625
1102 Similarly Situated   Nadine Simmonds-Young               1491610
1103 Similarly Situated   Vinayak Shastri                     1491608
1104 Similarly Situated   Imelda Ruvalcaba-Marin              1491598




                                           Page 23 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3             Filed 07/15/24   Page 40 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

1105 Similarly Situated   Colette Rogers-Whyte                 1491595
1106 Similarly Situated   Jose Rodriguez                       1491590
1107 Similarly Situated   Daniel Reid                          1491580
1108 Similarly Situated   Frederick Pizzuti                    1491574
1109 Similarly Situated   Amanicque Paul                       1491568
1110 Similarly Situated   Pascal Lugo                          1491534
1111 Similarly Situated   Steven Maiorino                      1491526
1112 Similarly Situated   Kamari Livingston                    1491521
1113 Similarly Situated   Albert Lewis                         1491520
1114 Similarly Situated   Schreiber Lafleur                    1491514
1115 Similarly Situated   Giana Disla                          1491505
1116 Similarly Situated   Mark Greenstein                      1491482
1117 Similarly Situated   Denise Fontenelle                    1491473
1118 Similarly Situated   Jeff Dorlette                        1491456
1119 Similarly Situated   Jason Dixon                          1491455
1120 Similarly Situated   Janusz Danielewicz                   1491445
1121 Similarly Situated   Angelo Cole                          1491436
1122 Similarly Situated   Nicole Clarke-Gaines                 1491435
1123 Similarly Situated   Shantelle Charles                    1491430
1124 Similarly Situated   Noel Candelario                      1491419
1125 Similarly Situated   Alonzo Butler                        1491413
1126 Similarly Situated   Dewayne Broadbelt                    1491407
1127 Similarly Situated   Monika Barton                        1491401
1128 Similarly Situated   Daniel Arroyo                        1489339
1129 Similarly Situated   Carol Pelegrin                       1489301
1130 Similarly Situated   Henry Cui                            1486018
1131 Similarly Situated   Hazel Velez                          1485886
1132 Similarly Situated   Michael Singh                        1483285
1133 Similarly Situated   Alex Nieves                          1483280
1134 Similarly Situated   Robin Sharma                         1483249
1135 Similarly Situated   Steven Lalanne                       1483226
1136 Similarly Situated   Jermaine Merchant                    1481354
1137 Similarly Situated   Gregory Yancy                        1478890
1138 Similarly Situated   Aaron Wilson                         1478888
1139 Similarly Situated   Matthew Waters                       1478883
1140 Similarly Situated   Dominique Walker                     1478882
1141 Similarly Situated   Robert Sclafani                      1478869
1142 Similarly Situated   Jeana Samuel                         1478864
1143 Similarly Situated   Marshall Rothman                     1478860
1144 Similarly Situated   Christopher Pignone                  1478850
1145 Similarly Situated   Lloyd Peters                         1478849
1146 Similarly Situated   Arthur Olivari                       1478846
1147 Similarly Situated   Raymond Nazario                      1478843
1148 Similarly Situated   Bernard Mathis                       1478833
1149 Similarly Situated   Steven Heneson                       1478816
1150 Similarly Situated   Steven Conte                         1478795
1151 Similarly Situated   Salvatore Clemente                   1478793
1152 Similarly Situated   Howard Amrani                        1478780




                                            Page 24 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 41 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                 Full Name               EIN Number

1153 Similarly Situated   Eric Blue                             1477309
1154 Similarly Situated   Mohammad Shaker                       1476123
1155 Similarly Situated   Diamond Cook                          1475986
1156 Similarly Situated   Xavier Gombs                          1475277
1157 Similarly Situated   Shqipe Ndoja                          1473845
1158 Similarly Situated   Shakeema Green                        1473141
1159 Similarly Situated   Kiana Williams                        1469052
1160 Similarly Situated   Martin Gonzalez                       1466761
1161 Similarly Situated   Jelani Nelson                         1462785
1162 Similarly Situated   Kourtney Martin                       1461946
1163 Similarly Situated   Iman Mckay                            1461019
1164 Similarly Situated   Shakeena Muhammad                     1460203
1165 Similarly Situated   Lashea Haynes                         1459004
1166 Similarly Situated   Icelan Pierre                         1458491
1167 Similarly Situated   William Kwasnicki                     1456813
1168 Similarly Situated   Jackie Li                             1455246
1169 Similarly Situated   Christopher Colon                     1454412
1170 Similarly Situated   Ebony Mccabe                          1454393
1171 Similarly Situated   Edwin Perez                           1452759
1172 Similarly Situated   John Familiare                        1452456
1173 Similarly Situated   Kamira Elie                           1448738
1174 Similarly Situated   Marie Pearson                         1448720
1175 Similarly Situated   Nastaassja Parham                     1448717
1176 Similarly Situated   Kadeem Luton                          1448705
1177 Similarly Situated   Utomi Haidome                         1448690
1178 Similarly Situated   Victor Figueroa                       1448682
1179 Similarly Situated   Tekecia Darden                        1448674
1180 Similarly Situated   Daniel Concepcion                     1448668
1181 Similarly Situated   Carl Jocelin                          1446649
1182 Similarly Situated   Nigeria Tate                          1444121
1183 Similarly Situated   Phillip Small                         1442462
1184 Similarly Situated   Wakemia Hazel                         1441901
1185 Similarly Situated   Sergey Bekker                         1441865
1186 Similarly Situated   Damien Hogans                         1439225
1187 Similarly Situated   Quam Bobb                             1439171
1188 Similarly Situated   John Bianco Jr                        1436430
1189 Similarly Situated   Antonio Aponte                        1434390
1190 Similarly Situated   Nisanie Lovell                        1434119
1191 Similarly Situated   Dennis Rodriguez                      1432192
1192 Similarly Situated   Ashleigh Bellinger                    1429696
1193 Similarly Situated   Rozetta Thorbourne                    1428626
1194 Similarly Situated   Joy Ogbeta                            1428172
1195 Similarly Situated   Anisha Deolath                        1427765
1196 Similarly Situated   Erik Collado                          1422254
1197 Similarly Situated   Chien Xie                             1422047
1198 Similarly Situated   Joel Vanterpool Jr                    1422030
1199 Similarly Situated   Vinette Tuckerfrederick               1422027
1200 Similarly Situated   Steven Trugman                        1422026




                                             Page 25 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3               Filed 07/15/24   Page 42 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name                 EIN Number

1201 Similarly Situated   Nathalie Sutton                        1422018
1202 Similarly Situated   Osiris Santana                         1422005
1203 Similarly Situated   Kiven Roberts                          1421996
1204 Similarly Situated   Dilleon Rampersad                      1421988
1205 Similarly Situated   Sonia Persad                           1421977
1206 Similarly Situated   Sheldon Paul                           1421975
1207 Similarly Situated   Jacyna Murray                          1421966
1208 Similarly Situated   Peter Moses                            1421964
1209 Similarly Situated   Aishah Mccutchen                       1421952
1210 Similarly Situated   Nicole Lopez                           1421942
1211 Similarly Situated   Joseph Klippel                         1421935
1212 Similarly Situated   Julius Johnson                         1421927
1213 Similarly Situated   Dayry Hernandez                        1421918
1214 Similarly Situated   Terrance Harris                        1421911
1215 Similarly Situated   Lauren Frommer                         1421889
1216 Similarly Situated   Antonia Drake                          1421872
1217 Similarly Situated   Michael Dogali                         1421870
1218 Similarly Situated   Sia Cunningham                         1421854
1219 Similarly Situated   Joshua Carson                          1421847
1220 Similarly Situated   Brian Bastian                          1421828
1221 Similarly Situated   Waheed Azeez                           1421824
1222 Similarly Situated   Rhondu Forbes                          1421750
1223 Similarly Situated   Chevis Harvey                          1421033
1224 Similarly Situated   Taeshawn Bailey                        1419503
1225 Similarly Situated   Marlon Fernandez                       1416126
1226 Similarly Situated   Samuel Cesar                           1409354
1227 Similarly Situated   Michelle Leslie                        1409041
1228 Similarly Situated   Jacy Taylor                            1408474
1229 Similarly Situated   Toshanna Kendall                       1405714
1230 Similarly Situated   Malik Staggers                         1403994
1231 Similarly Situated   Shakiayah Bryant                       1403835
1232 Similarly Situated   Ruth Fandal Hodge                      1403349
1233 Similarly Situated   Gregory Antoine                        1403325
1234 Similarly Situated   Shanelle Virgil                        1402968
1235 Similarly Situated   Sareeta Lodge                          1402839
1236 Similarly Situated   Cornelius Greene                       1402402
1237 Similarly Situated   Olene Smith                            1402399
1238 Similarly Situated   Raymond Espino                         1402395
1239 Similarly Situated   Latrice Maxwell                        1402384
1240 Similarly Situated   Evelyn Irby                            1402379
1241 Similarly Situated   Vernon Alonzo                          1402377
1242 Similarly Situated   Ashley Samuel                          1402376
1243 Similarly Situated   Amarjeet Singh                         1402369
1244 Similarly Situated   Jerrison Lora                          1402366
1245 Similarly Situated   Regina Williams                        1402362
1246 Similarly Situated   Joseph Baker                           1402361
1247 Similarly Situated   Joseph Squillaro                       1402338
1248 Similarly Situated   Irving Cutler                          1402333




                                              Page 26 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3             Filed 07/15/24   Page 43 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

1249 Similarly Situated   Tinnee Anderson                      1402313
1250 Similarly Situated   Hafizur Rahman                       1402309
1251 Similarly Situated   Thomas Sollecito                     1402293
1252 Similarly Situated   Christian Forero                     1402279
1253 Similarly Situated   Ngina Lawrence                       1402277
1254 Similarly Situated   Daniel Seraphin                      1402275
1255 Similarly Situated   Terry Henry                          1402269
1256 Similarly Situated   Shay Palmer                          1402265
1257 Similarly Situated   Darnell Walcott                      1402251
1258 Similarly Situated   Mercedes Hilton                      1402239
1259 Similarly Situated   Vincent Smith Jr                     1402228
1260 Similarly Situated   Louis Guglielmetti                   1402223
1261 Similarly Situated   Laforteke Coldwell                   1402222
1262 Similarly Situated   Janella Morgan                       1402215
1263 Similarly Situated   Steve Francois                       1402207
1264 Similarly Situated   David Saccente                       1402201
1265 Similarly Situated   Eric Wilson                          1402193
1266 Similarly Situated   Brian Saryian                        1402189
1267 Similarly Situated   Dennard Wright                       1402187
1268 Similarly Situated   Justin Ralph                         1402184
1269 Similarly Situated   Jasmine Jonas                        1402180
1270 Similarly Situated   Gyarnte Bee                          1401161
1271 Similarly Situated   Kemi Faturoti                        1400837
1272 Similarly Situated   Quadasia Holligan                    1400835
1273 Similarly Situated   Natasha Constance                    1399055
1274 Similarly Situated   Jonathan Knox                        1396187
1275 Similarly Situated   Javel Rabel                          1393533
1276 Similarly Situated   Shauna Hughes                        1393507
1277 Similarly Situated   Arthur Beaufils                      1393483
1278 Similarly Situated   Ronald Marte                         1392309
1279 Similarly Situated   Mamie Speight                        1385684
1280 Similarly Situated   Shenice Shay                         1359180
1281 Similarly Situated   Kawana Osias                         1358676
1282 Similarly Situated   Ashley Alston                        1358631
1283 Similarly Situated   Odessa Williams-El                   1358354
1284 Similarly Situated   Myshel Wimberly                      1357957
1285 Similarly Situated   Willie Williams                      1357956
1286 Similarly Situated   Kimwahn Washington                   1357954
1287 Similarly Situated   Tracey Washington                    1357953
1288 Similarly Situated   Cheleah Terry                        1357943
1289 Similarly Situated   Peter Sollecito                      1357935
1290 Similarly Situated   Jason Skeet                          1357931
1291 Similarly Situated   Alexander Savino                     1357927
1292 Similarly Situated   Stephen Rittenhouse Jr               1357920
1293 Similarly Situated   Janay Morris                         1357897
1294 Similarly Situated   Martha Alegre                        1357893
1295 Similarly Situated   Dollis Mcallister                    1357878
1296 Similarly Situated   Brian Mayo                           1357877




                                            Page 27 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 44 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                 Full Name               EIN Number

1297 Similarly Situated   Eliu Marte                            1357874
1298 Similarly Situated   Hillary Mark                          1357873
1299 Similarly Situated   Tamara Julmisse                       1357850
1300 Similarly Situated   Glenis Hidalgo-Davis                  1357844
1301 Similarly Situated   Robert Heyward Iii                    1357842
1302 Similarly Situated   Joseph Ferrante                       1357821
1303 Similarly Situated   Marlene Fernandez                     1357820
1304 Similarly Situated   Anthony Davis                         1357809
1305 Similarly Situated   Jonathan Cumbo                        1357804
1306 Similarly Situated   Jonathan Cofresi                      1357797
1307 Similarly Situated   Denise Carter                         1357789
1308 Similarly Situated   Robert Aitken                         1357766
1309 Similarly Situated   Kerly Jeanlouis                       1355385
1310 Similarly Situated   Danikwa Miller                        1351894
1311 Similarly Situated   Bianka Walker                         1351839
1312 Similarly Situated   Jameela Jefferson                     1351800
1313 Similarly Situated   Marie Wall                            1351768
1314 Similarly Situated   Miguelina Reyes                       1349413
1315 Similarly Situated   Amirah Sarvis                         1347599
1316 Similarly Situated   Kia Williams                          1346603
1317 Similarly Situated   Lutha Hodge                           1345638
1318 Similarly Situated   Ligia Polanco-Lee                     1343735
1319 Similarly Situated   David Haynie Jr.                      1343472
1320 Similarly Situated   Md Alam                               1343411
1321 Similarly Situated   Delroy Gordon                         1343409
1322 Similarly Situated   Patrina Hall-Madry                    1343404
1323 Similarly Situated   Mary Cunningham                       1343403
1324 Similarly Situated   George Celestin                       1343397
1325 Similarly Situated   Jacob Rivers                          1343391
1326 Similarly Situated   Salima Brathwaite                     1343388
1327 Similarly Situated   Jose Nieves                           1343384
1328 Similarly Situated   Dwayne James                          1343379
1329 Similarly Situated   Chrystal Chambers                     1343376
1330 Similarly Situated   Francesco Coniglio                    1343373
1331 Similarly Situated   Nauvella Lacroix                      1343367
1332 Similarly Situated   Michelle Rice                         1343366
1333 Similarly Situated   Moneer Asratali                       1343364
1334 Similarly Situated   Monica Johnson                        1343349
1335 Similarly Situated   Dwayne Bradshaw                       1343344
1336 Similarly Situated   Juliette Jordan                       1343341
1337 Similarly Situated   Kanisha Hall                          1343340
1338 Similarly Situated   Shaheed Vazquez                       1343327
1339 Similarly Situated   Rashad Roberts                        1343320
1340 Similarly Situated   Kenneth Haynes                        1343317
1341 Similarly Situated   Darla Balukas                         1343316
1342 Similarly Situated   Syed Maharab Shah                     1343313
1343 Similarly Situated   Shakuwra Malcolm                      1343303
1344 Similarly Situated   Chad Rowe                             1343299




                                             Page 28 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3             Filed 07/15/24   Page 45 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

1345 Similarly Situated   Lissette Waterman                    1343296
1346 Similarly Situated   Chet Singh                           1343277
1347 Similarly Situated   Miranda Witherspoon                  1343273
1348 Similarly Situated   Drew Williams                        1343268
1349 Similarly Situated   Marcella Sapp                        1343250
1350 Similarly Situated   Albert Ferrari                       1343247
1351 Similarly Situated   Nakeia Coakley                       1343243
1352 Similarly Situated   Latoya Shuford                       1343233
1353 Similarly Situated   Chante Stewart                       1343219
1354 Similarly Situated   Hilda Herrera                        1343212
1355 Similarly Situated   Conrad Harris                        1343210
1356 Similarly Situated   Hector Figueroa Jr                   1343115
1357 Similarly Situated   Stephanie Jackson                    1337438
1358 Similarly Situated   Timothy Jolly                        1332921
1359 Similarly Situated   Juan Gil                             1331415
1360 Similarly Situated   Taino Plaza                          1331044
1361 Similarly Situated   Hong Liu                             1329860
1362 Similarly Situated   Betty Tutu                           1329497
1363 Similarly Situated   Teela Haskins                        1329485
1364 Similarly Situated   Saifuddin Iqbal                      1329460
1365 Similarly Situated   Saskia Medford                       1329022
1366 Similarly Situated   Maurice Dixon                        1328110
1367 Similarly Situated   Steven Warrington                    1326924
1368 Similarly Situated   Langford Henderson                   1326803
1369 Similarly Situated   Shakeer Mitchell                     1325242
1370 Similarly Situated   Jesus Torres                         1322371
1371 Similarly Situated   Gregory Spruill                      1322361
1372 Similarly Situated   Jonathan Pinnock                     1322336
1373 Similarly Situated   Rodney Myles                         1322327
1374 Similarly Situated   Ai Yun Mai                           1322308
1375 Similarly Situated   Tanea Motes                          1322304
1376 Similarly Situated   Daniel Leites                        1322301
1377 Similarly Situated   Brian Joseph                         1322294
1378 Similarly Situated   Jose Jimenez                         1322292
1379 Similarly Situated   Jasmine Goss                         1322290
1380 Similarly Situated   Timothy Hodges                       1322285
1381 Similarly Situated   Shanita Guin                         1322274
1382 Similarly Situated   Derrick Gary                         1322264
1383 Similarly Situated   Daniel Garcia                        1322263
1384 Similarly Situated   Monique Fyffe                        1322261
1385 Similarly Situated   Daniel Dias                          1322251
1386 Similarly Situated   Frank Delapaz                        1322247
1387 Similarly Situated   Cynthea Cowan                        1322238
1388 Similarly Situated   Chris Allen                          1322213
1389 Similarly Situated   Jean Beaubrun                        1320968
1390 Similarly Situated   James Mughal                         1318446
1391 Similarly Situated   Francesca Ferraioli                  1318263
1392 Similarly Situated   Danielle Jack                        1316832




                                            Page 29 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3            Filed 07/15/24   Page 46 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type               Full Name               EIN Number

1393 Similarly Situated   Richie Moonsammy                    1316290
1394 Similarly Situated   Arvanny Almonte                     1313796
1395 Similarly Situated   Kevin Alexander                     1312781
1396 Similarly Situated   Shanequia Selby                     1311411
1397 Similarly Situated   Saquan Mcrae                        1311404
1398 Similarly Situated   Shakira Muhammad                    1310899
1399 Similarly Situated   La-Quanda Johnson                   1310813
1400 Similarly Situated   Michele Frederick                   1307711
1401 Similarly Situated   Kadajah Sims                        1307003
1402 Similarly Situated   Brian Morrison                      1305189
1403 Similarly Situated   Linett Bell                         1303805
1404 Similarly Situated   Leon Simon                          1303316
1405 Similarly Situated   Christopher Roman                   1303307
1406 Similarly Situated   Courtney Rogers                     1303304
1407 Similarly Situated   George Robles                       1303302
1408 Similarly Situated   Donald Ramos                        1303296
1409 Similarly Situated   Debra Paige                         1303288
1410 Similarly Situated   William Miller                      1303279
1411 Similarly Situated   David Medina                        1303275
1412 Similarly Situated   Freya Means                         1303274
1413 Similarly Situated   Kevin Marin                         1303271
1414 Similarly Situated   Michelle Lee                        1303266
1415 Similarly Situated   Janae Gilbert                       1303262
1416 Similarly Situated   Swaggart Julien                     1303261
1417 Similarly Situated   Katena Isaac                        1303254
1418 Similarly Situated   Kenneth Hood II                     1303248
1419 Similarly Situated   Michael Giwa                        1303241
1420 Similarly Situated   Addjadee Garnett                    1303238
1421 Similarly Situated   David Cornish                       1303213
1422 Similarly Situated   Robert Ackerman                     1303193
1423 Similarly Situated   Abu Jahid                           1297647
1424 Similarly Situated   Shaine Mc Lauren                    1291851
1425 Similarly Situated   Sharema Hill                        1291841
1426 Similarly Situated   Thomosene Crowder-Canty             1291837
1427 Similarly Situated   Kristine Fisher                     1291389
1428 Similarly Situated   Lynmarie Torres                     1289702
1429 Similarly Situated   Lakesha Williams                    1289089
1430 Similarly Situated   Nekeisha Delapenha                  1288987
1431 Similarly Situated   Latoya Starks                       1286835
1432 Similarly Situated   Theodore Roberts                    1286825
1433 Similarly Situated   Julio Mulfort                       1286815
1434 Similarly Situated   Lennox Moodie                       1286814
1435 Similarly Situated   David Mccallum                      1286813
1436 Similarly Situated   Kai Leung                           1286804
1437 Similarly Situated   Zurelys Lantigua                    1286803
1438 Similarly Situated   Porscha Holland                     1286797
1439 Similarly Situated   Marchele Franklin                   1286790
1440 Similarly Situated   Claude Fleurimond                   1286789




                                           Page 30 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 47 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name                EIN Number

1441 Similarly Situated   Krystal Charles                       1286785
1442 Similarly Situated   Deborah Carter                        1286784
1443 Similarly Situated   Dexter Bubb                           1286780
1444 Similarly Situated   Jason Avila                           1286776
1445 Similarly Situated   Leshonda Wilson                       1286388
1446 Similarly Situated   Lowell Cameron                        1286387
1447 Similarly Situated   Ariel Anthony                         1282740
1448 Similarly Situated   Ronnie Vargas                         1281093
1449 Similarly Situated   Kervin Henry                          1280726
1450 Similarly Situated   Christina Peduto                      1279659
1451 Similarly Situated   Lakayla Ramos                         1278606
1452 Similarly Situated   Shannon Samuel                        1274752
1453 Similarly Situated   Adrian Houlder                        1274749
1454 Similarly Situated   Kitoye Wariboko                       1274595
1455 Similarly Situated   Rolanda Wright                        1274393
1456 Similarly Situated   Jasmine Francis                       1273411
1457 Similarly Situated   Ronald Orilus                         1273005
1458 Similarly Situated   Yuhui Huang                           1272800
1459 Similarly Situated   Sharrone Turner                       1272619
1460 Similarly Situated   Sherri Cook                           1272615
1461 Similarly Situated   Franklin Taveras                      1272612
1462 Similarly Situated   Harold Santiago                       1272604
1463 Similarly Situated   Leo Roland                            1272602
1464 Similarly Situated   Danielle Priddee                      1272599
1465 Similarly Situated   Ibrahim Mohammed                      1272584
1466 Similarly Situated   Edward Mickel                         1272583
1467 Similarly Situated   Bryan Greene                          1272565
1468 Similarly Situated   Luis Galan                            1272562
1469 Similarly Situated   Tiffany Fleming                       1272560
1470 Similarly Situated   Courtney Corley                       1272552
1471 Similarly Situated   Jackie Burrell                        1272545
1472 Similarly Situated   Daniel Blanco                         1272541
1473 Similarly Situated   Kevin Bishop                          1272540
1474 Similarly Situated   Fanny Osborne                         1272533
1475 Similarly Situated   Cathy Lafleur                         1272230
1476 Similarly Situated   Laurent Aladin                        1272228
1477 Similarly Situated   O'Neil Lawson                         1271886
1478 Similarly Situated   Erica Guerrero                        1271452
1479 Similarly Situated   Tiffany Guzman                        1268353
1480 Similarly Situated   Nicole Freckleton                     1267365
1481 Similarly Situated   Ann Mcfield                           1227854
1482 Similarly Situated   Wellin Cruz De La Cruz                1227158
1483 Similarly Situated   Tameika Hawkins                       1222144
1484 Similarly Situated   Kenywn Richards                       1222141
1485 Similarly Situated   Darvin Sosa                           1222139
1486 Similarly Situated   Kenya Washington                      1222101
1487 Similarly Situated   Natasha Thompson                      1222097
1488 Similarly Situated   Keisha Thomas                         1222096




                                             Page 31 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 48 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name                EIN Number

1489 Similarly Situated   Sean Smith                            1222091
1490 Similarly Situated   Elizabeth-Ann Sinkler                 1222090
1491 Similarly Situated   Jose Reyes                            1222081
1492 Similarly Situated   Adeerah Pride                         1222079
1493 Similarly Situated   Jacqueline Perez                      1222078
1494 Similarly Situated   Verdessa Mcphaul                      1222070
1495 Similarly Situated   Troy Mayers                           1222065
1496 Similarly Situated   Carlos Lorenzana                      1222060
1497 Similarly Situated   Kristina Jordan                       1222053
1498 Similarly Situated   Kristal Jeremiah                      1222049
1499 Similarly Situated   Marcus Isaac                          1222047
1500 Similarly Situated   Lynaiah Ingram                        1222046
1501 Similarly Situated   Jarrett Hamilton                      1222039
1502 Similarly Situated   James Finucane                        1222034
1503 Similarly Situated   Rosangela Fernandez                   1222032
1504 Similarly Situated   Emanuell Alphonse                     1222006
1505 Similarly Situated   Jonathan Reyes                        1221585
1506 Similarly Situated   Kara Brown                            1216561
1507 Similarly Situated   Aldo Cruz De La Cruz                  1215999
1508 Similarly Situated   Gregory Terry                         1215508
1509 Similarly Situated   Tanesha Smith                         1215504
1510 Similarly Situated   Jerrel Mitchell                       1215470
1511 Similarly Situated   Marlon Grant                          1215448
1512 Similarly Situated   Kimora Baldwin                        1215415
1513 Similarly Situated   Samara Hicks                          1215318
1514 Similarly Situated   Tiffany Walker                        1212933
1515 Similarly Situated   Raymond Serrano                       1211290
1516 Similarly Situated   Joshua Lewis                          1210223
1517 Similarly Situated   Ernest Fong                           1210097
1518 Similarly Situated   Christina Dean                        1209782
1519 Similarly Situated   Eron Augustus                         1209469
1520 Similarly Situated   Michael Ly                            1209405
1521 Similarly Situated   Stanley Delva                         1209402
1522 Similarly Situated   Tyneka Greene                         1209357
1523 Similarly Situated   Johneatha Graham                      1207525
1524 Similarly Situated   Deena Brunson                         1204809
1525 Similarly Situated   Marc Felder                           1203825
1526 Similarly Situated   Sk Hossain                            1200384
1527 Similarly Situated   Nichol Dark                           1197619
1528 Similarly Situated   Princess Masso Yaba                   1196377
1529 Similarly Situated   Lauren Santiago                       1195695
1530 Similarly Situated   Daniel Tineo                          1195606
1531 Similarly Situated   Kalvin Sosoo                          1194238
1532 Similarly Situated   Barbara Virella                       1186754
1533 Similarly Situated   Mershana Simmons                      1179640
1534 Similarly Situated   Josephine Njoku                       1169602
1535 Similarly Situated   Latoyia Myrick                        1166877
1536 Similarly Situated   Joe Lopez                             1165386




                                             Page 32 of 54
Case 1:20-cv-09641-ALC-SDA             Document 168-3              Filed 07/15/24   Page 49 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                  Full Name                EIN Number

1537 Similarly Situated   Sheronda Mcdoward                       1165302
1538 Similarly Situated   Md Uddin                                1165282
1539 Similarly Situated   Melissa Blount                          1165218
1540 Similarly Situated   Deanna Del Rio                          1165177
1541 Similarly Situated   Jassmin Myrick                          1165038
1542 Similarly Situated   Ariel Rodriguez                         1164679
1543 Similarly Situated   Dawn Rosario                            1162942
1544 Similarly Situated   Shakea Smith                            1161116
1545 Similarly Situated   Tiffany John                            1160855
1546 Similarly Situated   Monique Samuel                          1160269
1547 Similarly Situated   Melisa Gordon                           1158105
1548 Similarly Situated   Shameka Mitchell                        1158074
1549 Similarly Situated   Fary Luna                               1156186
1550 Similarly Situated   Monica Andon                            1154957
1551 Similarly Situated   Razia Begum                             1150957
1552 Similarly Situated   Mathew Joseph                           1150898
1553 Similarly Situated   Aston Lee                               1150486
1554 Similarly Situated   Valerie Pitter-Young                    1146776
1555 Similarly Situated   Cassandra Oxley                         1146141
1556 Similarly Situated   Erica Otero                             1144864
1557 Similarly Situated   Moses Peters                            1144808
1558 Similarly Situated   Sharnette Conyers                       1142202
1559 Similarly Situated   Ameerah Bonaparte                       1142195
1560 Similarly Situated   Roberto Camacho                         1142022
1561 Similarly Situated   Malissa Foster                          1142009
1562 Similarly Situated   Eric Smith                              1141978
1563 Similarly Situated   Jose Pumarejo                           1141965
1564 Similarly Situated   Michael Modeste                         1141954
1565 Similarly Situated   Robert Mcdonald Jr                      1141951
1566 Similarly Situated   Kianah Johnson                          1141937
1567 Similarly Situated   Alexis Huston                           1141933
1568 Similarly Situated   Sonya Freeman                           1141920
1569 Similarly Situated   Kristileigh Elleby Mcneil               1141916
1570 Similarly Situated   David Delmoral                          1141914
1571 Similarly Situated   Javar Cheatham                          1141907
1572 Similarly Situated   Katricia Chandler                       1141905
1573 Similarly Situated   Shane Blackwell                         1141892
1574 Similarly Situated   Vanel Abbott                            1141882
1575 Similarly Situated   Nicole James                            1141855
1576 Similarly Situated   Crystal Milliner                        1141837
1577 Similarly Situated   John Clynch                             1141771
1578 Similarly Situated   Jonel Lalin                             1141733
1579 Similarly Situated   Jaquon Pickwood                         1141727
1580 Similarly Situated   Christian Robertson                     1141694
1581 Similarly Situated   Adriana Aponte                          1139328
1582 Similarly Situated   Joseph Trumpy                           1138157
1583 Similarly Situated   Shana Evans                             1137678
1584 Similarly Situated   Shanell Harris                          1136398




                                               Page 33 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 50 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name                EIN Number

1585 Similarly Situated   James Parker                          1135699
1586 Similarly Situated   Anthony Caban                         1133191
1587 Similarly Situated   Shaquaya Palmer                       1132445
1588 Similarly Situated   Larry Shannon                         1129278
1589 Similarly Situated   Jacqueline Grant                      1127927
1590 Similarly Situated   Danita Showers                        1127559
1591 Similarly Situated   Latasia White                         1126000
1592 Similarly Situated   Jose Nieves                           1125424
1593 Similarly Situated   Dylek Tyson                           1125419
1594 Similarly Situated   Afiya Mitchell                        1125382
1595 Similarly Situated   Jarlen Hudson                         1125061
1596 Similarly Situated   Bronoski Jean-Philippe                1125055
1597 Similarly Situated   Sophia Chase                          1125041
1598 Similarly Situated   Rashida King                          1124975
1599 Similarly Situated   Amanda Martin                         1124949
1600 Similarly Situated   Andre Watson                          1123242
1601 Similarly Situated   Jennie Thompson                       1123185
1602 Similarly Situated   Robert Parchment Jr                   1123183
1603 Similarly Situated   Erica Ortiz                           1123181
1604 Similarly Situated   Syrena Mitchell                       1123167
1605 Similarly Situated   Jacqueline Mitchell                   1123166
1606 Similarly Situated   Timothy Mccabe                        1123161
1607 Similarly Situated   Berthony Jeanlouis                    1123144
1608 Similarly Situated   Darius Gray                           1123133
1609 Similarly Situated   Cameau Destine                        1123116
1610 Similarly Situated   Kyanna Browne                         1123088
1611 Similarly Situated   Kenneth Mbalewe                       1119476
1612 Similarly Situated   Latoya Ratchford                      1119423
1613 Similarly Situated   Genice Gonzalez                       1118589
1614 Similarly Situated   Ronishia Kearse                       1118587
1615 Similarly Situated   Peter Oghagbon                        1118425
1616 Similarly Situated   Atiya Banks                           1118363
1617 Similarly Situated   Shelly Beaton                         1116341
1618 Similarly Situated   Grace Tobin                           1112521
1619 Similarly Situated   Rong Gao Zeng                         1112490
1620 Similarly Situated   Christian Peralta                     1112476
1621 Similarly Situated   Stephen Ohannessian                   1112472
1622 Similarly Situated   Gay Moncrieffe                        1112469
1623 Similarly Situated   Lekeith Lewis                         1112464
1624 Similarly Situated   Elizabeth King                        1112458
1625 Similarly Situated   Zachary Johnson                       1112456
1626 Similarly Situated   Waylon Gooding                        1112448
1627 Similarly Situated   Sarita Chapple                        1112436
1628 Similarly Situated   Ian Chapman                           1112435
1629 Similarly Situated   Angelique Carter                      1112434
1630 Similarly Situated   Marva Branche                         1112430
1631 Similarly Situated   Winford Bellamy Jr                    1112426
1632 Similarly Situated   Ahmad Bader                           1111891




                                             Page 34 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 51 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                 Full Name               EIN Number

1633 Similarly Situated   Ashlee Mccolgan                       1110314
1634 Similarly Situated   Humphrey Simson                       1108012
1635 Similarly Situated   Taqiyya Young                         1106486
1636 Similarly Situated   Milton Valerio Sosa                   1106479
1637 Similarly Situated   Cheryl Taylor                         1106472
1638 Similarly Situated   Vanilla Singletary                    1106459
1639 Similarly Situated   Christopher Rizzotti                  1106442
1640 Similarly Situated   Mario Pullum                          1106437
1641 Similarly Situated   Jennifer Price                        1106436
1642 Similarly Situated   Tamare Orilus                         1106429
1643 Similarly Situated   Simone Mitchell                       1106421
1644 Similarly Situated   Joseph Messina                        1106418
1645 Similarly Situated   Christopher Lopez                     1106406
1646 Similarly Situated   Kent Lee                              1106399
1647 Similarly Situated   Jainai Kranwinkle                     1106398
1648 Similarly Situated   Marcel Jones                          1106394
1649 Similarly Situated   Melvin Hird                           1106385
1650 Similarly Situated   Henry Gibbs                           1106375
1651 Similarly Situated   Martina Galvan                        1106374
1652 Similarly Situated   Vincent Firsching Jr                  1106369
1653 Similarly Situated   Augusto Delarosa                      1106361
1654 Similarly Situated   Anthony Dantzler                      1106358
1655 Similarly Situated   Brian Chin                            1106352
1656 Similarly Situated   Alesia Cannon                         1106348
1657 Similarly Situated   Joseph Franco Iii                     1106076
1658 Similarly Situated   Ryan Lander                           1104539
1659 Similarly Situated   Christian Doninelli                   1104121
1660 Similarly Situated   Derek Washington                      1099956
1661 Similarly Situated   Melissa Paul                          1099727
1662 Similarly Situated   Randy Grant                           1099707
1663 Similarly Situated   Christina Drayton                     1099455
1664 Similarly Situated   Bertha Geradeau                       1096639
1665 Similarly Situated   Denise Poole                          1096500
1666 Similarly Situated   Suzeth Orr                            1096485
1667 Similarly Situated   Jean Luxama                           1096215
1668 Similarly Situated   Latisha Rice                          1096131
1669 Similarly Situated   Cennetta Gipson                       1096106
1670 Similarly Situated   Travis Leitch                         1095717
1671 Similarly Situated   Paul Vitjathorn                       1093633
1672 Similarly Situated   Tracey Turner                         1092860
1673 Similarly Situated   Tina Stokes                           1092855
1674 Similarly Situated   Maria C Soto                          1092853
1675 Similarly Situated   Lenora Simmons                        1092851
1676 Similarly Situated   John Santiago                         1092846
1677 Similarly Situated   Ricardo Perez                         1092833
1678 Similarly Situated   Zeus Peng                             1092832
1679 Similarly Situated   Mark Mohr                             1092821
1680 Similarly Situated   Desiree Mckenney                      1092819




                                             Page 35 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3            Filed 07/15/24   Page 52 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

1681 Similarly Situated   Jose Ledesma Jr                      1092812
1682 Similarly Situated   Shonta Johnson                       1092803
1683 Similarly Situated   Christopher Jackson Jr               1092799
1684 Similarly Situated   Bernabe Herrera                      1092794
1685 Similarly Situated   Jon Guiden                           1092790
1686 Similarly Situated   Ann-Marie Geiger                     1092783
1687 Similarly Situated   Shirley Dominguez                    1092774
1688 Similarly Situated   Tysheen Daniels                      1092766
1689 Similarly Situated   Thomas Cosentino                     1092763
1690 Similarly Situated   Thomas Altieri Jr                    1092749
1691 Similarly Situated   Robert Adelmann                      1092747
1692 Similarly Situated   Yesside Oppenheimer                  1092236
1693 Similarly Situated   Yetzirah Castro                      1090609
1694 Similarly Situated   Tika Long                            1089844
1695 Similarly Situated   George Rojas                         1089203
1696 Similarly Situated   Anthony Synsmir                      1089198
1697 Similarly Situated   Alima Yakubu                         1087471
1698 Similarly Situated   Quincy Francis                       1086791
1699 Similarly Situated   Javier Rubio                         1085917
1700 Similarly Situated   Barbara Lacrete                      1085308
1701 Similarly Situated   Morris Wilson Jr                     1085266
1702 Similarly Situated   Andrea Stewart                       1085117
1703 Similarly Situated   Henry Rafferty Iv                    1084742
1704 Similarly Situated   Kory Peters                          1084738
1705 Similarly Situated   Melissa Geddie                       1084027
1706 Similarly Situated   Terrell Braddox                      1081225
1707 Similarly Situated   Sonya Jeter                          1080300
1708 Similarly Situated   Michelle Williams                    1080266
1709 Similarly Situated   Leroy Tolliver Jr                    1080128
1710 Similarly Situated   Mohammed Islam                       1079830
1711 Similarly Situated   Exsonn Fernandez                     1079824
1712 Similarly Situated   Jamie Allen                          1079820
1713 Similarly Situated   Cherita Johnson                      1079613
1714 Similarly Situated   Jodi Carter-Gordon                   1079572
1715 Similarly Situated   Fabian Perez                         1079513
1716 Similarly Situated   Alex Johnson                         1079234
1717 Similarly Situated   Michelle Mckain                      1079202
1718 Similarly Situated   Davon Monestine                      1079200
1719 Similarly Situated   Christine Daly                       1078566
1720 Similarly Situated   Donisha Thompson                     1078374
1721 Similarly Situated   Mauricio Londono                     1078371
1722 Similarly Situated   Ezra Leon                            1078347
1723 Similarly Situated   Katia Leon                           1078336
1724 Similarly Situated   Rodney Mcqueen                       1078328
1725 Similarly Situated   Robert Venechanos                    1078300
1726 Similarly Situated   Michael Lynch                        1078297
1727 Similarly Situated   Nikolaos Spiris                      1078193
1728 Similarly Situated   Norda Samuels                        1077791




                                            Page 36 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3             Filed 07/15/24   Page 53 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

1729 Similarly Situated   Teshuni Baker                        1077714
1730 Similarly Situated   Denise Aziz                          1076870
1731 Similarly Situated   Luther Keys                          1073347
1732 Similarly Situated   Rohana King                          1070055
1733 Similarly Situated   Marselo Mejia                        1067885
1734 Similarly Situated   Tahniqua Denny                       1067710
1735 Similarly Situated   James Poluscar                       1067694
1736 Similarly Situated   Mindaugas Maleckas                   1067526
1737 Similarly Situated   Cherelle Butler                      1065976
1738 Similarly Situated   Binta Roberts                        1064663
1739 Similarly Situated   Fateema White                        1064043
1740 Similarly Situated   Nicole Walcott                       1064041
1741 Similarly Situated   Mezinski Merilus                     1063663
1742 Similarly Situated   Daniel Lee                           1063643
1743 Similarly Situated   Elaine Baez                          1063555
1744 Similarly Situated   Ashley Neely                         1063124
1745 Similarly Situated   Thauna Gaskin                        1062784
1746 Similarly Situated   Antonia Colon                        1061496
1747 Similarly Situated   Danisha Zabramba                     1060884
1748 Similarly Situated   Tawanna Williams                     1060366
1749 Similarly Situated   Wendy Woodard                        1059900
1750 Similarly Situated   Denise Williams                      1059587
1751 Similarly Situated   Josephine Peterson                   1059096
1752 Similarly Situated   Pamela Parsley                       1059091
1753 Similarly Situated   Raynaldo Persad                      1059079
1754 Similarly Situated   Madeline Nogueras                    1059075
1755 Similarly Situated   Kathia Hyman                         1059072
1756 Similarly Situated   Maria Audelo                         1058954
1757 Similarly Situated   Erle Gunther                         1058949
1758 Similarly Situated   Wagner Conti                         1057226
1759 Similarly Situated   Tameeka Downes                       1057211
1760 Similarly Situated   Caroline Bolanos-Matthews            1057201
1761 Similarly Situated   Daron Charles                        1057193
1762 Similarly Situated   Leslie Robinson                      1057154
1763 Similarly Situated   Shantal Mitchell                     1055554
1764 Similarly Situated   Ronald Sadowski                      1055339
1765 Similarly Situated   Steven Christian                     1055337
1766 Similarly Situated   Tiffany Dunson-Chandler              1055326
1767 Similarly Situated   Julio Diaz                           1055324
1768 Similarly Situated   Tashana Lindsay-Smith                1055300
1769 Similarly Situated   Rhonda Ruiz                          1055297
1770 Similarly Situated   Marsha Cusaac                        1055290
1771 Similarly Situated   Bridget Esposito                     1055285
1772 Similarly Situated   Roy Daif                             1055283
1773 Similarly Situated   Kareen Brown                         1055255
1774 Similarly Situated   Julesa Levan                         1054928
1775 Similarly Situated   Vanessa Chase                        1051803
1776 Similarly Situated   Jason Fernandez                      1051787




                                            Page 37 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3            Filed 07/15/24   Page 54 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name              EIN Number

1777 Similarly Situated   Kerion Cohall                       1051760
1778 Similarly Situated   Casey Diamond                       1051751
1779 Similarly Situated   Lazette Jack                        1050555
1780 Similarly Situated   Wayne Petry                         1048749
1781 Similarly Situated   Faisal Zahroof                      1048675
1782 Similarly Situated   Shannon Langford                    1047812
1783 Similarly Situated   La-Kiesha Wamer                     1047267
1784 Similarly Situated   Randy Miller                        1047166
1785 Similarly Situated   Gary Williams                       1047150
1786 Similarly Situated   Kenya Oliver                        1047140
1787 Similarly Situated   Kevin Roulston                      1047139
1788 Similarly Situated   Jacqueline Perez                    1047134
1789 Similarly Situated   Paul Scott                          1047130
1790 Similarly Situated   Lissette Rodriguez                  1047075
1791 Similarly Situated   Armando Almodovar                   1047012
1792 Similarly Situated   Claudia Botero                      1047005
1793 Similarly Situated   Thraun Dow                          1046994
1794 Similarly Situated   Tyiesha Cottle                      1046991
1795 Similarly Situated   Johnny Giammarino                   1046988
1796 Similarly Situated   Derrick Louis                       1046617
1797 Similarly Situated   Shyremia Martin                     1044826
1798 Similarly Situated   John King                           1044817
1799 Similarly Situated   Ruby Koshy                          1044795
1800 Similarly Situated   Tashanna Timberlake                 1044793
1801 Similarly Situated   Andre Mccorkle                      1044780
1802 Similarly Situated   Norman Lee                          1044779
1803 Similarly Situated   Dante Middlebrooks                  1044772
1804 Similarly Situated   Benjamin Rivera                     1044769
1805 Similarly Situated   Towanda Reuben                      1044759
1806 Similarly Situated   Clifford Michel                     1044756
1807 Similarly Situated   Adam Tirado                         1044754
1808 Similarly Situated   James Colon                         1044752
1809 Similarly Situated   Margaret Henry                      1044748
1810 Similarly Situated   Sandra Thomas                       1041576
1811 Similarly Situated   Liza Luna                           1039515
1812 Similarly Situated   Andre Martin                        1039399
1813 Similarly Situated   Shirlondra Golden                   1039074
1814 Similarly Situated   William Dye                         1039030
1815 Similarly Situated   Narah Charles                       1039015
1816 Similarly Situated   Shwanna Blocker                     1039008
1817 Similarly Situated   Zoraya Corredor                     1038992
1818 Similarly Situated   September Doss                      1038735
1819 Similarly Situated   Carmin Kalil                        1038291
1820 Similarly Situated   Sherene Sewell                      1038219
1821 Similarly Situated   John Hernandez                      1037607
1822 Similarly Situated   Latesha Rogers                      1033827
1823 Similarly Situated   Frank Miller                        1029966
1824 Similarly Situated   Kevin Brown                         1028577




                                           Page 38 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3             Filed 07/15/24   Page 55 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

1825 Similarly Situated   Cleo Boyce                           1028576
1826 Similarly Situated   Harry Flores                         1027160
1827 Similarly Situated   Lorenzo Phillips                     1026596
1828 Similarly Situated   Allen Streetman                      1026590
1829 Similarly Situated   Elizabeth Dandridge                  1026589
1830 Similarly Situated   Marc Pollock                         1026578
1831 Similarly Situated   Jose Mera                            1026562
1832 Similarly Situated   Ioannis Vartholomeos                 1026558
1833 Similarly Situated   Renarta Warren                       1026557
1834 Similarly Situated   Shakema Powell                       1026544
1835 Similarly Situated   Marguerite Portes                    1026537
1836 Similarly Situated   Anthony Spiotta                      1026268
1837 Similarly Situated   Jerzy Skupien                        1025934
1838 Similarly Situated   Trina Mccain                         1025927
1839 Similarly Situated   Tammy Mcgovern                       1025917
1840 Similarly Situated   Susan Mohr                           1025648
1841 Similarly Situated   Zatone Harper                        1025645
1842 Similarly Situated   Roberto Gonzalez                     1025618
1843 Similarly Situated   Fred Barnes                          1025616
1844 Similarly Situated   Patrick Joseph                       1025598
1845 Similarly Situated   Shaneta Bond                         1025405
1846 Similarly Situated   Maxine Kerr                          1024863
1847 Similarly Situated   Alexander Gomez                      1024584
1848 Similarly Situated   Ingrid Williams                      1024223
1849 Similarly Situated   Jonathan Brito                       1024028
1850 Similarly Situated   Koryelle Cameron                     1023982
1851 Similarly Situated   Jennifer Bernard                     1023955
1852 Similarly Situated   Oluwasegun Akinlade                  1023858
1853 Similarly Situated   Shanee Mitchell                      1022086
1854 Similarly Situated   Auria Pineda                         1021708
1855 Similarly Situated   Emmanuel Cheron                      1021486
1856 Similarly Situated   Teneya Scurry                        1020420
1857 Similarly Situated   Johnniemay Witcher                   1020300
1858 Similarly Situated   Chance Peay                          1020290
1859 Similarly Situated   William Clark Jr                     1020266
1860 Similarly Situated   Lakia Taylor                         1018819
1861 Similarly Situated   Richard Irving                       1018091
1862 Similarly Situated   Benita Sims                          1017422
1863 Similarly Situated   Mary Blount                          1017351
1864 Similarly Situated   Iyanta Bowen                         1017256
1865 Similarly Situated   Shaquana Owens                       1012470
1866 Similarly Situated   Tameka Lowe                          1012350
1867 Similarly Situated   Joseph Mascia                        1012206
1868 Similarly Situated   Felicia Smith                        1012204
1869 Similarly Situated   Antwan Britton                       1012195
1870 Similarly Situated   Tiffany Rankins                      1012162
1871 Similarly Situated   Ainsworth Rodney                     1012161
1872 Similarly Situated   Zenobia Robinson                     1012153




                                            Page 39 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3            Filed 07/15/24   Page 56 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name              EIN Number

1873 Similarly Situated   Ivan Lowe                           1012145
1874 Similarly Situated   Lizzette Bahr                       1012123
1875 Similarly Situated   Sebastian Ross                      1012115
1876 Similarly Situated   Shakema Proudfoot                   1012109
1877 Similarly Situated   Alessandro Tortorici                1009474
1878 Similarly Situated   Tykisha Williams                    1009468
1879 Similarly Situated   Tynania Briggs                      1009325
1880 Similarly Situated   Cherrelle Davis                     1009323
1881 Similarly Situated   Sheaniqua Carty                     1008765
1882 Similarly Situated   Tiffany Battle                      1006926
1883 Similarly Situated   Robert Boom                         1005186
1884 Similarly Situated   Nicole Middleton                    1004054
1885 Similarly Situated   Shatasia Little                     1002088
1886 Similarly Situated   Shaun Coleman                       1001276
1887 Similarly Situated   Patricia Ross                       1001267
1888 Similarly Situated   Evelyn Onofre-Sanchez               1001257
1889 Similarly Situated   Steve Nelson                        1000979
1890 Similarly Situated   Andrea Baptista                     1000532
1891 Similarly Situated   Ileana Ovalle                       1000512
1892 Similarly Situated   Angel Sanchez                       1000482
1893 Similarly Situated   Shanell Robinson                    1000480
1894 Similarly Situated   Oladipo Salako                      1000477
1895 Similarly Situated   Kamora Mcmoore                      1000475
1896 Similarly Situated   Veronica Rymer                      1000453
1897 Similarly Situated   Christopher Kinloch                 1000236
1898 Similarly Situated   Anthony Walcott                     1000231
1899 Similarly Situated   Jason Bitetti                       1000214
1900 Similarly Situated   Tiffany Jordan                      1000201
1901 Similarly Situated   Tahishia Fortune                    1000194
1902 Similarly Situated   Joseph Fina                         1000190
1903 Similarly Situated   Alvin Gallardo                      1000182
1904 Similarly Situated   Anthony Castro                      1000178
1905 Similarly Situated   Louisa Mann                          999091
1906 Similarly Situated   Allison Hall                         998920
1907 Similarly Situated   Benjamin Nduka                       996743
1908 Similarly Situated   James Laraque                        996507
1909 Similarly Situated   Andre Boucaud                        995801
1910 Similarly Situated   Albert Sims                          995676
1911 Similarly Situated   Richmond Amaning                     994319
1912 Similarly Situated   Lucretia Walker                      994316
1913 Similarly Situated   Natalia Gerald                       992124
1914 Similarly Situated   Tiffany Canela                       991345
1915 Similarly Situated   Eddinson Vanderpool                  991327
1916 Similarly Situated   Rudy Moise                           987778
1917 Similarly Situated   Erica Clerk                          986018
1918 Similarly Situated   Dashima Scoon                        985590
1919 Similarly Situated   Nicole Gant                          985568
1920 Similarly Situated   Aysha Williams                       985497




                                           Page 40 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3             Filed 07/15/24   Page 57 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

1921 Similarly Situated   Dwayne Dubois                         985193
1922 Similarly Situated   Letanya Grady                         983522
1923 Similarly Situated   Venith Rogers                         983203
1924 Similarly Situated   Jorel Ward                            982953
1925 Similarly Situated   Shavonna Bishop                       981976
1926 Similarly Situated   Jason Young                           980295
1927 Similarly Situated   Steven Bailey                         980251
1928 Similarly Situated   Kakia Hakim                           980102
1929 Similarly Situated   Karen Raghunanan                      979572
1930 Similarly Situated   Ariana Lodai                          979407
1931 Similarly Situated   Jacqueline Lattimore                  979404
1932 Similarly Situated   Latea James                           979399
1933 Similarly Situated   Clinton Manley                        979169
1934 Similarly Situated   Irene Addei                           978159
1935 Similarly Situated   Cavohdyah Ben-Levi                    977162
1936 Similarly Situated   Cardell Gadsden                       975371
1937 Similarly Situated   Shleymah Ben-Levi                     969283
1938 Similarly Situated   Marlon Beckles                        960072
1939 Similarly Situated   Veronica Stoudymire                   955866
1940 Similarly Situated   Genesis Johnson                       953985
1941 Similarly Situated   Gerald Rivera                         953223
1942 Similarly Situated   Shade Powell                          952558
1943 Similarly Situated   Jamal Evans                           943234
1944 Similarly Situated   Acasha Gordon                         941307
1945 Similarly Situated   Melissa Smith                         939067
1946 Similarly Situated   Sharmelle Bernard                     938712
1947 Similarly Situated   Wilson Pena                           938247
1948 Similarly Situated   Lasche Campbell                       937344
1949 Similarly Situated   Ricky Colon                           937255
1950 Similarly Situated   Kevin Mullings                        937035
1951 Similarly Situated   Anthony Newman                        936979
1952 Similarly Situated   Mark Ballah                           934665
1953 Similarly Situated   Shaqueena Witherspoon                 933949
1954 Similarly Situated   Patricia Thompson                     924773
1955 Similarly Situated   Fred Alce                             922102
1956 Similarly Situated   Christopher Hanna-Dorsey              920007
1957 Similarly Situated   Aaron St Aude                         916548
1958 Similarly Situated   Jonathan Morales                      915443
1959 Similarly Situated   Jean Raymond                          915217
1960 Similarly Situated   Anthony Samuels                       915205
1961 Similarly Situated   Katrisse Floyd                        914020
1962 Similarly Situated   Charles Rutherford                    913621
1963 Similarly Situated   Naeem Brebnor                         911000
1964 Similarly Situated   Santos Quiles                         907113
1965 Similarly Situated   Janel Mercedes                        904291
1966 Similarly Situated   Unique Phinazee                       901739
1967 Similarly Situated   Tanya Blackwood-Watkins               899153
1968 Similarly Situated   Philashia Gibson                      893257




                                            Page 41 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3            Filed 07/15/24   Page 58 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type               Full Name               EIN Number

1969 Similarly Situated   Christian Vargas                     892683
1970 Similarly Situated   Andy Santos                          891883
1971 Similarly Situated   Melany Brisbon                       887759
1972 Similarly Situated   Leslie De La Rosa                    879498
1973 Similarly Situated   Ernesto Nesbeth                      878414
1974 Similarly Situated   Haden Wilkinson                      876352
1975 Similarly Situated   Abigail Raymond                      875498
1976 Similarly Situated   Nefertiti Dunlap                     874945
1977 Similarly Situated   Sakia Bey                            872951
1978 Similarly Situated   Avril Joseph                         872060
1979 Similarly Situated   Michael Hamilton                     870196
1980 Similarly Situated   Dymita Harper                        869115
1981 Similarly Situated   Yasmin Demps                         869096
1982 Similarly Situated   Delice Coleman                       865992
1983 Similarly Situated   Cindy Calderon                       861685
1984 Similarly Situated   Javon Sistrunk                       858302
1985 Similarly Situated   Teresa Stennett                      857663
1986 Similarly Situated   Magderlene Spencer                   857165
1987 Similarly Situated   Marsha Mangaroo                      853995
1988 Similarly Situated   Rachel Mulligan                      853062
1989 Similarly Situated   Isaura Hernandez                     852209
1990 Similarly Situated   Ieasha Cody                          851620
1991 Similarly Situated   Tiffany Taylor                       850549
1992 Similarly Situated   Alex Pena                            849759
1993 Similarly Situated   Isolina Liriano                      827838
1994 Similarly Situated   Yveto Gaboton                        826906
1995 Similarly Situated   Joel Ruiz                            816271
1996 Similarly Situated   Keena Dixon                          815786
1997 Similarly Situated   Shanee Newenle                       812536
1998 Similarly Situated   Franklin Adams                       811298
1999 Similarly Situated   Latifa Martin                        808722
2000 Similarly Situated   Jennifer Mohammed                    808531
2001 Similarly Situated   David Davis                          801905
2002 Similarly Situated   Regina Thompson                      796973
2003 Similarly Situated   Thurman Thompson Jr                  792492
2004 Similarly Situated   Leida Santiago                       787130
2005 Similarly Situated   Latasha Hicks                        786107
2006 Similarly Situated   Michael Gonzalez                     783496
2007 Similarly Situated   Jermaine Dill                        783307
2008 Similarly Situated   Cynthia Jenkins                      781625
2009 Similarly Situated   Erika Fontana                        775857
2010 Similarly Situated   Regina Watkins                       774880
2011 Similarly Situated   Temisha Fraser                       771041
2012 Similarly Situated   Michael Wallace                      768549
2013 Similarly Situated   Raphaleeta Dias                      723488
2014 Similarly Situated   Mia Smith                            718246
2015 Similarly Situated   Jamal Favours                        669944
2016 Similarly Situated   Lamar Dawkins                        663386




                                           Page 42 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3             Filed 07/15/24   Page 59 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

2017 Similarly Situated   Cynthia Burrell                       642213
2018 Similarly Situated   Daphne Farmer                         623067
2019 Similarly Situated   Patrick Remy                          614667
2020 Similarly Situated   Fred Caban                            614665
2021 Similarly Situated   Julia Andujar                         614662
2022 Similarly Situated   Emily Rodriguez                       614660
2023 Similarly Situated   Melinda Malloy                        614655
2024 Similarly Situated   Jennifer Loffredo                     614640
2025 Similarly Situated   Nicole Hunter                         614638
2026 Similarly Situated   Lavdrim Jani                          614631
2027 Similarly Situated   Ismael Alfonso                        614624
2028 Similarly Situated   Ronald Wilson                         614287
2029 Similarly Situated   Chester Thompson Jr.                  614269
2030 Similarly Situated   Jason Guido                           614261
2031 Similarly Situated   Paul Harrison                         614233
2032 Similarly Situated   Jeffrey Taylor                        614218
2033 Similarly Situated   Melony Perez                          614217
2034 Similarly Situated   David Gonzalez                        614216
2035 Similarly Situated   Selena Moran                          614204
2036 Similarly Situated   Mangsing Wong                         614200
2037 Similarly Situated   Shoshana Burke                        614182
2038 Similarly Situated   Brian Pinnick                         614172
2039 Similarly Situated   Aschelle Skepple                      614157
2040 Similarly Situated   Matthew Nials                         614147
2041 Similarly Situated   Latessha Govan-Cruz                   614142
2042 Similarly Situated   Thuyamany Michael                     613607
2043 Similarly Situated   Simone Bowen                          613374
2044 Similarly Situated   Latoya Nugent                         612726
2045 Similarly Situated   Lewquay Williams                      608457
2046 Similarly Situated   David Chan                            604286
2047 Similarly Situated   Gina Casseus                          604110
2048 Similarly Situated   Latasha Gates                         603843
2049 Similarly Situated   Luc-Noel Mamodesen                    603780
2050 Similarly Situated   Carlos Aviles                         603779
2051 Similarly Situated   Tasheba Brown                         603694
2052 Similarly Situated   Ayesha Bethea                         603672
2053 Similarly Situated   Don Rouse Jr                          603123
2054 Similarly Situated   Walter Ross                           601774
2055 Similarly Situated   Kathleen Sands                        601756
2056 Similarly Situated   David Warwick                         601751
2057 Similarly Situated   Natalie Tawiah                        601708
2058 Similarly Situated   Marsha Lynch                          601701
2059 Similarly Situated   Paul Lafranca                         601699
2060 Similarly Situated   Albertha Billings                     601616
2061 Similarly Situated   Desmond Calliste                      601604
2062 Similarly Situated   Kimberly Duggins                      601603
2063 Similarly Situated   Dorian Dash                           601596
2064 Similarly Situated   Raymond Brown                         601585




                                            Page 43 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 60 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name                EIN Number

2065 Similarly Situated   Damarcus Artis                         601576
2066 Similarly Situated   Colleen Johnson                        601571
2067 Similarly Situated   Adeniyi Adesina                        601566
2068 Similarly Situated   Dennis Hlatky                          601550
2069 Similarly Situated   Glenn Trammell Jr.                     600862
2070 Similarly Situated   Tasha Washington                       598542
2071 Similarly Situated   Sakia Wooling                          597642
2072 Similarly Situated   Desiree Ruiz                           596312
2073 Similarly Situated   Erica Mayweather                       595781
2074 Similarly Situated   Jennifer Stewart-Small                 595157
2075 Similarly Situated   Detris Knotts                          595151
2076 Similarly Situated   Lashawn Gittens                        595065
2077 Similarly Situated   Jeanine Givens                         595059
2078 Similarly Situated   Elaine Gainey                          595056
2079 Similarly Situated   Matthew Brown                          595046
2080 Similarly Situated   Shondel Mcintyre                       595042
2081 Similarly Situated   Diana Moore                            595031
2082 Similarly Situated   Nena Purewal                           588367
2083 Similarly Situated   Tiffany Massey                         588304
2084 Similarly Situated   Diana Baird                            588136
2085 Similarly Situated   Christina Noon                         582995
2086 Similarly Situated   Amira Givens                           582994
2087 Similarly Situated   Michael Santana                        582990
2088 Similarly Situated   Satanya Lincoln-Porter                 582981
2089 Similarly Situated   Opal Ellis                             582975
2090 Similarly Situated   Monday Ogbemudia                       582969
2091 Similarly Situated   Marlene Henry                          582968
2092 Similarly Situated   Randle Smith                           582957
2093 Similarly Situated   Lynn Munro                             582952
2094 Similarly Situated   Cedric Carter                          582863
2095 Similarly Situated   Joel Correa                            582852
2096 Similarly Situated   Kevin Daley                            582493
2097 Similarly Situated   Dishawn Fauntleroy                     582184
2098 Similarly Situated   Natalie Perry                          581794
2099 Similarly Situated   Damien Myers                           581789
2100 Similarly Situated   Jaclyn Monterroso                      581774
2101 Similarly Situated   Charles Powell                         581753
2102 Similarly Situated   Jahida Mariani                         581749
2103 Similarly Situated   Curtis Pelle                           581721
2104 Similarly Situated   Michael Nelson Jr.                     581713
2105 Similarly Situated   Walter Lamb                            581697
2106 Similarly Situated   Tanya Mccoy                            581691
2107 Similarly Situated   Brian Rolston                          581685
2108 Similarly Situated   Latisha Bunn                           581560
2109 Similarly Situated   Frank Castagna                         581549
2110 Similarly Situated   Kevin Braithwaite                      581541
2111 Similarly Situated   Tara Ballard                           581528
2112 Similarly Situated   Kenneth Burris                         581527




                                             Page 44 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 61 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                 Full Name               EIN Number

2113 Similarly Situated   Cheryl Antoine                         581516
2114 Similarly Situated   Richardson Pierre-Louis                580871
2115 Similarly Situated   Elan Wolf                              578997
2116 Similarly Situated   Shamieka Barreto                       578509
2117 Similarly Situated   Raheen Christian                       576114
2118 Similarly Situated   Shacoya Barnes                         576049
2119 Similarly Situated   Rudolph Murray                         575897
2120 Similarly Situated   Iantha Miller                          575894
2121 Similarly Situated   Daniel Lopez                           575889
2122 Similarly Situated   Gordon Munroe                          574833
2123 Similarly Situated   Giuseppe Balsamo                       574650
2124 Similarly Situated   Sharema Bond                           574257
2125 Similarly Situated   Alonzo Byard                           573955
2126 Similarly Situated   Erin Fanfair                           572410
2127 Similarly Situated   Marlon Reid                            570973
2128 Similarly Situated   Donald James Jr.                       569190
2129 Similarly Situated   Simoine Rainey-Wilson                  568321
2130 Similarly Situated   Sophia Richards                        564156
2131 Similarly Situated   Melissa Suber                          564127
2132 Similarly Situated   Carlos Morris                          563204
2133 Similarly Situated   Latonia Monroe                         562374
2134 Similarly Situated   Kennian Smith                          562086
2135 Similarly Situated   Ivan Feliciano Jr                      561874
2136 Similarly Situated   Eaugene Russell                        561656
2137 Similarly Situated   Julian Ray                             559973
2138 Similarly Situated   Rene Alvarez Jr.                       559625
2139 Similarly Situated   Henry Cai                              559480
2140 Similarly Situated   Heather Augustine                      557084
2141 Similarly Situated   Ernestine Hyman                        555253
2142 Similarly Situated   Zachary Johnson                        552768
2143 Similarly Situated   Muhammed Khan                          551899
2144 Similarly Situated   Andre Bates                            549842
2145 Similarly Situated   Lisa Ramos                             548401
2146 Similarly Situated   Carmela Napolitano                     548333
2147 Similarly Situated   Wonita Persaud                         547089
2148 Similarly Situated   Quanisha Cuffey                        545728
2149 Similarly Situated   Sheldon Graham                         544498
2150 Similarly Situated   Maribel Urena                          544309
2151 Similarly Situated   Roxanne Malone                         543969
2152 Similarly Situated   Beatrice Richards                      543945
2153 Similarly Situated   William Hille                          543944
2154 Similarly Situated   Stacey Hiers                           543937
2155 Similarly Situated   Raquel Rosario                         543893
2156 Similarly Situated   Naheim Stokes                          543889
2157 Similarly Situated   Thomas Brzezinski                      543888
2158 Similarly Situated   Charity Dixon                          543883
2159 Similarly Situated   Darlene Sanders                        543874
2160 Similarly Situated   Lashana Taylor                         543870




                                             Page 45 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 62 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                 Full Name               EIN Number

2161 Similarly Situated   Kenny Hadzovic                         543866
2162 Similarly Situated   Michelle Duren                         543858
2163 Similarly Situated   Diana Mcneil                           543849
2164 Similarly Situated   Raymond Beltz                          543837
2165 Similarly Situated   Katina Chever                          543807
2166 Similarly Situated   Kevin West                             543797
2167 Similarly Situated   Kevin Boucaud                          543791
2168 Similarly Situated   William Reph                           543704
2169 Similarly Situated   Vincent Bartletto                      543698
2170 Similarly Situated   Chad Cantelmo                          543430
2171 Similarly Situated   Jessica Mcknight                       542870
2172 Similarly Situated   Lamont Banton                          541733
2173 Similarly Situated   Ricardo Best                           541535
2174 Similarly Situated   Edward Lowe                            541030
2175 Similarly Situated   Yamisha Young                          540142
2176 Similarly Situated   Terry Green                            539278
2177 Similarly Situated   Donique Sealey                         538656
2178 Similarly Situated   Pamela Desousa                         538242
2179 Similarly Situated   Demetris Robinson                      538239
2180 Similarly Situated   Erica Jenkins                          538205
2181 Similarly Situated   Kisha Green                            538052
2182 Similarly Situated   Sharif Simpson                         537965
2183 Similarly Situated   Kevin Holder                           537915
2184 Similarly Situated   Craig Houston                          537901
2185 Similarly Situated   Michael Escoffery                      537897
2186 Similarly Situated   Tracey Coppedge                        537864
2187 Similarly Situated   Charles Bailey                         537862
2188 Similarly Situated   Fernando Verdugo                       537858
2189 Similarly Situated   Danielle Simmonds                      537843
2190 Similarly Situated   Melody Amill                           537839
2191 Similarly Situated   Kurt Parks                             537069
2192 Similarly Situated   John Mohammed                          535341
2193 Similarly Situated   Elaine Wilkins                         535209
2194 Similarly Situated   Carey Brown                            535207
2195 Similarly Situated   Jay Stevens                            535205
2196 Similarly Situated   Ramona Dejesus                         535199
2197 Similarly Situated   Ayanna Robertson                       535190
2198 Similarly Situated   Regina Daniels-Jacoff                  535177
2199 Similarly Situated   Gregory Camacho                        535170
2200 Similarly Situated   Andrea Carno                           535154
2201 Similarly Situated   William Garcia                         535149
2202 Similarly Situated   Ianna Charles                          535144
2203 Similarly Situated   Elian Castro                           535141
2204 Similarly Situated   Michael Gomez                          535131
2205 Similarly Situated   Desmond Blake                          535124
2206 Similarly Situated   Jason Justin                           534839
2207 Similarly Situated   Tamara Fee                             534836
2208 Similarly Situated   Tia Cox                                534830




                                             Page 46 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3             Filed 07/15/24   Page 63 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

2209 Similarly Situated   Leonid Strelnikov                     534820
2210 Similarly Situated   Sam Wouyeah                           534817
2211 Similarly Situated   Tonya Bailey                          534816
2212 Similarly Situated   Adrean Stoute                         533623
2213 Similarly Situated   Robert Daniel                         533547
2214 Similarly Situated   Kyreema Mcclain-Daniels               533504
2215 Similarly Situated   Kimberlie Clark                       533078
2216 Similarly Situated   Cara Alexandre                        533000
2217 Similarly Situated   Robin Blenman                         532731
2218 Similarly Situated   Sandra Mayo Gilbert                   528211
2219 Similarly Situated   Tahiem Stewart                        527304
2220 Similarly Situated   Albert Agyemang                       526648
2221 Similarly Situated   Ali Fayad                             526529
2222 Similarly Situated   Christina Williams                    526485
2223 Similarly Situated   Ricardo Reimers                       526421
2224 Similarly Situated   Judith Williams                       526168
2225 Similarly Situated   Kizmette Wright                       526070
2226 Similarly Situated   Lamaya Whitehead                      525862
2227 Similarly Situated   Joshua Marzan                         524136
2228 Similarly Situated   Narvese Waterman                      523414
2229 Similarly Situated   Daniel Riordan                        523397
2230 Similarly Situated   Trina Jackson-Gaspard                 523380
2231 Similarly Situated   Leanora Harper                        523376
2232 Similarly Situated   Shon Jackson                          523374
2233 Similarly Situated   Junior Jordan                         523371
2234 Similarly Situated   Leland Morrisey                       523359
2235 Similarly Situated   Lytressa Payton                       523355
2236 Similarly Situated   Anita Oates-Abubakar                  523341
2237 Similarly Situated   Tammy Spivey-Ahadi                    523338
2238 Similarly Situated   Lyndon Victor                         523334
2239 Similarly Situated   Lee Mitchell                          523330
2240 Similarly Situated   Donnett Saint-Sauveur                 523326
2241 Similarly Situated   Bryan Mceachern                       523307
2242 Similarly Situated   Aaron Sherron                         523282
2243 Similarly Situated   Michael Fields                        523143
2244 Similarly Situated   Ngozi Akua                            523127
2245 Similarly Situated   Fernando Garcia                       523126
2246 Similarly Situated   Raymond Crossland                     523116
2247 Similarly Situated   Olatunde Bakare                       523109
2248 Similarly Situated   Cheryl Clark                          523102
2249 Similarly Situated   Zina Belmar                           523092
2250 Similarly Situated   Patrick Brown                         523067
2251 Similarly Situated   Ruth Bush                             523054
2252 Similarly Situated   Onyemaechi Okpara                     522545
2253 Similarly Situated   Marc Johnson                          522500
2254 Similarly Situated   Siobhan Dinkins                       522192
2255 Similarly Situated   Dwayne Cockburn                       522000
2256 Similarly Situated   Lisa Felder                           521995




                                            Page 47 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3            Filed 07/15/24   Page 64 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

2257 Similarly Situated   Robert Leathers                       521893
2258 Similarly Situated   Raina Thomas                          521082
2259 Similarly Situated   Brandi Miller                         520899
2260 Similarly Situated   Michael Ferraro                       520085
2261 Similarly Situated   Anthony Jones                         519157
2262 Similarly Situated   Ivonne Medranda                       517732
2263 Similarly Situated   Manuel Mateo                          516213
2264 Similarly Situated   Anthony Lanni                         514647
2265 Similarly Situated   Analida Stewart                       513680
2266 Similarly Situated   Tahmeika Jones                        513679
2267 Similarly Situated   Dmitriy Chaikovskiy                   512926
2268 Similarly Situated   Calvin Hayden                         511942
2269 Similarly Situated   Giovanni Mannino                      511938
2270 Similarly Situated   Carla Baillie                         511936
2271 Similarly Situated   Delilah Douglass                      511932
2272 Similarly Situated   Tania Ramones                         511927
2273 Similarly Situated   Roxanne Alexander                     511926
2274 Similarly Situated   Natasha Lewis                         511920
2275 Similarly Situated   Althea Jameison                       511908
2276 Similarly Situated   Anne Marie Ostraticky                 511905
2277 Similarly Situated   Andrea Thompson                       511891
2278 Similarly Situated   Flor Argueta                          510752
2279 Similarly Situated   David Gaskin                          509783
2280 Similarly Situated   Kevin Bryant                          509365
2281 Similarly Situated   Ruby Johnson                          507469
2282 Similarly Situated   Christina Whitaker                    506196
2283 Similarly Situated   Raymond Acevedo                       505912
2284 Similarly Situated   Richard Hill                          505441
2285 Similarly Situated   John James                            505051
2286 Similarly Situated   Trayon Lee                            503286
2287 Similarly Situated   Sheniqua Burton                       501774
2288 Similarly Situated   Edwin Maldonado                       501181
2289 Similarly Situated   Lynne Stuart                          500877
2290 Similarly Situated   Lisa Abrams                           500874
2291 Similarly Situated   Donnya Spry                           500872
2292 Similarly Situated   Tremayne Speight                      500870
2293 Similarly Situated   George Poniros                        500702
2294 Similarly Situated   Stephanie Negron                      500688
2295 Similarly Situated   Michael Barzal                        500682
2296 Similarly Situated   June Jackson                          500671
2297 Similarly Situated   Edward Martinez                       500669
2298 Similarly Situated   Gareth Brooks                         500665
2299 Similarly Situated   Hernando Olaya                        500658
2300 Similarly Situated   Kendo Payne                           500652
2301 Similarly Situated   Chereese Smith                        500645
2302 Similarly Situated   Michelle Freeman                      500641
2303 Similarly Situated   Charlie Cameron Jr                    500640
2304 Similarly Situated   Jerry Atkins                          500633




                                            Page 48 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3            Filed 07/15/24   Page 65 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name              EIN Number

2305 Similarly Situated   Marsha Chambers                      500629
2306 Similarly Situated   Sheila Nagengast                     500623
2307 Similarly Situated   Kimberly Jennings                    500619
2308 Similarly Situated   Ma-Lang Callabrass                   500582
2309 Similarly Situated   Dewayne Sealy                        500580
2310 Similarly Situated   Sharelle Garcia                      500579
2311 Similarly Situated   Gedeon Guerin                        500563
2312 Similarly Situated   Ta Wanya Williams                    500552
2313 Similarly Situated   Alicia Chatham                       500540
2314 Similarly Situated   Annette Mcallister                   500534
2315 Similarly Situated   Hollis Adams                         500533
2316 Similarly Situated   Willene Bynum                        500476
2317 Similarly Situated   Luis Lefranc                         500341
2318 Similarly Situated   Samuel Stanley                       500303
2319 Similarly Situated   Lloyd Carty                          499577
2320 Similarly Situated   Destiny Barnes-Weaver                499437
2321 Similarly Situated   Stacey Green                         499368
2322 Similarly Situated   Raymond Edwards                      499199
2323 Similarly Situated   Dave Jackson                         497458
2324 Similarly Situated   Eduardo Garcia Jr                    497325
2325 Similarly Situated   Karlene Irvin                        496738
2326 Similarly Situated   Neil Rodriguez                       495816
2327 Similarly Situated   Alister Dubois                       491611
2328 Similarly Situated   Sadoc Genoves                        490124
2329 Similarly Situated   Cinerma Muldrow                      489315
2330 Similarly Situated   Nakeya Brown                         489117
2331 Similarly Situated   Sean Medina                          483178
2332 Similarly Situated   Lowanda Kane                         480332
2333 Similarly Situated   Thouplous Beaufort                   478721
2334 Similarly Situated   Kevin Shepard                        475062
2335 Similarly Situated   Kizza Lofton                         473174
2336 Similarly Situated   Karen Simmons                        472981
2337 Similarly Situated   Richard Ruiz                         471998
2338 Similarly Situated   Jhulian Newell-Little                470959
2339 Similarly Situated   Denise Jones                         470479
2340 Similarly Situated   Yaw Nuamah                           469518
2341 Similarly Situated   Tammie Archibald                     469418
2342 Similarly Situated   Mark Stephenson                      463761
2343 Similarly Situated   Demetrius Porter                     463740
2344 Similarly Situated   Cheryl Bell                          463580
2345 Similarly Situated   Charisse Sweeting                    463554
2346 Similarly Situated   Shanese Williams                     463533
2347 Similarly Situated   Fatima Washington                    463527
2348 Similarly Situated   Aletha Gray                          463516
2349 Similarly Situated   Silas Graham                         463514
2350 Similarly Situated   Anisa Fernandez                      463495
2351 Similarly Situated   Niko Fernandes                       463494
2352 Similarly Situated   Noreen James                         463470




                                           Page 49 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3            Filed 07/15/24   Page 66 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

2353 Similarly Situated   Doris Jones                           463468
2354 Similarly Situated   Nivea Lopez                           463454
2355 Similarly Situated   Paula Monroe                          463433
2356 Similarly Situated   Andrea Thompson                       463419
2357 Similarly Situated   Jeffrey Redondo                       463405
2358 Similarly Situated   Juan Nicholas                         463400
2359 Similarly Situated   Taurus Williams                       463382
2360 Similarly Situated   Tony Smith                            463162
2361 Similarly Situated   Anthony Lindsay                       463094
2362 Similarly Situated   Tiffany Kinloch                       461947
2363 Similarly Situated   Rondie Williams                       461939
2364 Similarly Situated   Mary Love                             461924
2365 Similarly Situated   Eric Smith                            461918
2366 Similarly Situated   Colm Mclaughlin                       461899
2367 Similarly Situated   Nicole Serrant                        461818
2368 Similarly Situated   Jose Freire                           461804
2369 Similarly Situated   Octavian Duggins                      461797
2370 Similarly Situated   Kendric Burch                         460417
2371 Similarly Situated   Tanya Wright                          460246
2372 Similarly Situated   Garry Adams                           460012
2373 Similarly Situated   Patria Johnson                        459249
2374 Similarly Situated   Samuel Pedroso                        458888
2375 Similarly Situated   Jorge Marin                           458517
2376 Similarly Situated   Wilfred Mcdonald                      458436
2377 Similarly Situated   Adrian Burgos                         457495
2378 Similarly Situated   Kenny Ip                              457268
2379 Similarly Situated   Timothy Johnson                       457229
2380 Similarly Situated   Lenora Cook                           456843
2381 Similarly Situated   Keisha Lemon                          451425
2382 Similarly Situated   Jamilliah Gordon                      449976
2383 Similarly Situated   Malik Glover                          449929
2384 Similarly Situated   Angel Perez                           449330
2385 Similarly Situated   Walter Hayward                        448767
2386 Similarly Situated   Ronald Rudolph                        448761
2387 Similarly Situated   Patricia Currid                       448751
2388 Similarly Situated   Nicole Jackson                        448674
2389 Similarly Situated   Enrico Frase                          447748
2390 Similarly Situated   Leandro Wilson                        447518
2391 Similarly Situated   John Daniels                          447371
2392 Similarly Situated   Andre George                          443521
2393 Similarly Situated   Gregory China                         441343
2394 Similarly Situated   Gaynell Wright                        441340
2395 Similarly Situated   Sonya Delaine                         441012
2396 Similarly Situated   Maxo Charles                          440711
2397 Similarly Situated   Yvette Wynn                           438503
2398 Similarly Situated   Miriam Guity                          438469
2399 Similarly Situated   Vicki Burgess                         438122
2400 Similarly Situated   Jefferson Mccullough                  438120




                                            Page 50 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3             Filed 07/15/24   Page 67 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name                EIN Number

2401 Similarly Situated   Ainsworth Foo                          436987
2402 Similarly Situated   Jorge Rivera                           436679
2403 Similarly Situated   Kortura Mcneil                         436650
2404 Similarly Situated   Charmain Thorne                        435919
2405 Similarly Situated   Jean Bulluck                           435792
2406 Similarly Situated   Valerie Calhoun                        435774
2407 Similarly Situated   Nikki Burton                           435771
2408 Similarly Situated   Sakeena Bryant                         434943
2409 Similarly Situated   Marcy Kornegay                         433960
2410 Similarly Situated   Barry Raboy                            430754
2411 Similarly Situated   Lorraine Campo                         430665
2412 Similarly Situated   Nirvana Lowe                           427708
2413 Similarly Situated   Rebecca Vargas                         426937
2414 Similarly Situated   Wanda Roldan                           425533
2415 Similarly Situated   Zakiya Joyner                          424366
2416 Similarly Situated   Steven Arlotta                         423919
2417 Similarly Situated   Michael Mcalvin                        423904
2418 Similarly Situated   Mario Lopez                            423811
2419 Similarly Situated   Shemika Russell                       1557574
2420 Similarly Situated   Joseph Russo                           423768
2421 Similarly Situated   Phyllis Barrett                        423708
2422 Similarly Situated   Jeffrey Spencer                        423706
2423 Similarly Situated   Tamara Harrison                        423700
2424 Similarly Situated   Deloris Depass                         423698
2425 Similarly Situated   Beatrice Franklin                      423412
2426 Similarly Situated   Latoya Clarke                          422959
2427 Similarly Situated   Sandra Reid                            422541
2428 Similarly Situated   Tanya Boone                            421979
2429 Similarly Situated   Devon Traille                          421545
2430 Similarly Situated   Pamela Reedy                           421405
2431 Similarly Situated   Immanuel Washington                    420628
2432 Similarly Situated   Doris Lloyd                            420574
2433 Similarly Situated   Kimberly Battle                        420487
2434 Similarly Situated   Arturo Aquino                          420462
2435 Similarly Situated   Patricia Holloman                      420434
2436 Similarly Situated   Natasha Howard                         420389
2437 Similarly Situated   Sharon Benjamin                        418630
2438 Similarly Situated   Kimberly Stephens                      417076
2439 Similarly Situated   Anthony Gambino                        414708
2440 Similarly Situated   Miriam Talarico                        414098
2441 Similarly Situated   Kenya Elam                             414021
2442 Similarly Situated   Jose Reyes                             412785
2443 Similarly Situated   Moises Walden                          412513
2444 Similarly Situated   Kyle Rhames                            410572
2445 Similarly Situated   Anissa Blango                          406686
2446 Similarly Situated   Alvin Young                            404188
2447 Similarly Situated   Marion Fisher-Cassidy                  403587
2448 Similarly Situated   James Internicola                      401716




                                             Page 51 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3            Filed 07/15/24   Page 68 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type               Full Name               EIN Number

2449 Similarly Situated   Wayne Huyghue                        401714
2450 Similarly Situated   Jeffery Webb                         401667
2451 Similarly Situated   Jessie Wooten                        401652
2452 Similarly Situated   Christian Scholz                     401388
2453 Similarly Situated   Shon Brown                           401304
2454 Similarly Situated   Albert Aquino                        400821
2455 Similarly Situated   Harold Jr Sanchez                    399884
2456 Similarly Situated   Manny Calderon                       399662
2457 Similarly Situated   Frank Sacco                          397811
2458 Similarly Situated   Rene Ocasio                          397792
2459 Similarly Situated   Alonso Miller                        397779
2460 Similarly Situated   Rajab Edwards                        397595
2461 Similarly Situated   Odiney Brown                         378105
2462 Similarly Situated   Lisvette Woodard                     377793
2463 Similarly Situated   Taryn Williams                       376990
2464 Similarly Situated   Trice Brown                          376498
2465 Similarly Situated   Dorothy Gooding                      375882
2466 Similarly Situated   Omega Greene                         375225
2467 Similarly Situated   Reginald Winns                       372829
2468 Similarly Situated   Nicole Johnson                       369534
2469 Similarly Situated   Artisha Bishop                       357840
2470 Similarly Situated   Terrence Williams                    356520
2471 Similarly Situated   Kevin Jones                          348059
2472 Similarly Situated   Omar Murdock                         347873
2473 Similarly Situated   Tyeace Mormon-Encarnacion            346287
2474 Similarly Situated   Reinaldo Allen                       345555
2475 Similarly Situated   Alanna Mcdaniel                      343848
2476 Similarly Situated   Dionne Pierre                        342729
2477 Similarly Situated   Karen Smith                          341705
2478 Similarly Situated   Verkisha Wilson                      337614
2479 Similarly Situated   Robert Vargas                        336200
2480 Similarly Situated   Richelle Grant                       333957
2481 Similarly Situated   Loretta Jordan                       333143
2482 Similarly Situated   David Howard                         332943
2483 Similarly Situated   Fanny Vallejo                        332239
2484 Similarly Situated   Aleshia Capehart                     330537
2485 Similarly Situated   Dionne Mckenzie                      329706
2486 Similarly Situated   Joel Bayley                          329596
2487 Similarly Situated   Shawan Wilmer                        328780
2488 Similarly Situated   Clarence Jones                       318682
2489 Similarly Situated   Yvette Douglas                       318312
2490 Similarly Situated   Alecia Dawson                        318031
2491 Similarly Situated   Shaniqua Moore                       316907
2492 Similarly Situated   Shalyn Veal                          315856
2493 Similarly Situated   Sherine Lee                          315310
2494 Similarly Situated   Stefany Murdock                      314930
2495 Similarly Situated   Laura Harding-Miller                 314198
2496 Similarly Situated   Dominique Charlot                    313806




                                           Page 52 of 54
Case 1:20-cv-09641-ALC-SDA           Document 168-3            Filed 07/15/24   Page 69 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type               Full Name               EIN Number

2497 Similarly Situated   Bridgette Ores                       313422
2498 Similarly Situated   Samantha Peace                       309282
2499 Similarly Situated   Diane Shaw                           304151
2500 Similarly Situated   Abraham Ruiz                         304143
2501 Similarly Situated   Patrick Dorvil                       303966
2502 Similarly Situated   Edwin Montanez                       297278
2503 Similarly Situated   Jelf White                           296975
2504 Similarly Situated   Darryle Swindell Jr                  296640
2505 Similarly Situated   Gregory Gaspard                      296207
2506 Similarly Situated   Janice Riviere                       294513
2507 Similarly Situated   Jannie Ham                           294060
2508 Similarly Situated   Anthony Tesoriero                    278399
2509 Similarly Situated   Neville Elliott                      278068
2510 Similarly Situated   Ramon Deleon                         278064
2511 Similarly Situated   Rhonda Robinson-Barrow               276399
2512 Similarly Situated   Reginald Coleman                     275796
2513 Similarly Situated   Tlael Reyes                          275637
2514 Similarly Situated   Sonya Clarke                         274149
2515 Similarly Situated   Robert Hicks                         272176
2516 Similarly Situated   Tiawanda Gabriel                     271007
2517 Similarly Situated   Sakinah Moore                        270724
2518 Similarly Situated   Calvin Penick                        269638
2519 Similarly Situated   Ryan Daley                           267855
2520 Similarly Situated   Latisha Gillison                     267468
2521 Similarly Situated   Frank Post                           265528
2522 Similarly Situated   Kimberly Henderson                   263687
2523 Similarly Situated   Robert Mitil                         263532
2524 Similarly Situated   Raul Malave Jr.                      263524
2525 Similarly Situated   Tanya Williams                       261649
2526 Similarly Situated   Utina Anthony                        261430
2527 Similarly Situated   Louie Mondelli                       261089
2528 Similarly Situated   Nicholas Marino                      260934
2529 Similarly Situated   Wanda Roberts-Bingham                260688
2530 Similarly Situated   Richard Wan                          259124
2531 Similarly Situated   Marie Thompson-Thomas                259115
2532 Similarly Situated   Rosalind Rezaka                      258953
2533 Similarly Situated   Pamela Moore                         257581
2534 Similarly Situated   Delores Allen                        253380
2535 Similarly Situated   Rhonda Stevens                       251914
2536 Similarly Situated   Tami Lee                             249618
2537 Similarly Situated   Vincent Perillo                      246754
2538 Similarly Situated   Tanya Jones                          246620
2539 Similarly Situated   Frieda Holmes                        244206
2540 Similarly Situated   Robert Violenus                      243365
2541 Similarly Situated   Regina Harris                        238527
2542 Similarly Situated   Ishanna Ruff                         238390
2543 Similarly Situated   Terri Porter                         238090
2544 Similarly Situated   Shaseannia Pittman                   237883




                                           Page 53 of 54
Case 1:20-cv-09641-ALC-SDA            Document 168-3            Filed 07/15/24   Page 70 of 73




     Omar Malcolm et al. v. The City of New York
     Listing of All Plaintiffs


                Type                Full Name               EIN Number

2545 Similarly Situated   Eddie Figueroa Jr.                    236338
2546 Similarly Situated   Veronica Garland                      235359
2547 Similarly Situated   Thomas Kornegay                       234059
2548 Similarly Situated   Keisha Gorham                         213443
2549 Similarly Situated   Eric Saudi                            197433
2550 Similarly Situated   Yolanda Goodwin - Williams            196930
2551 Similarly Situated   Veronica Stembridge                   196915
2552 Similarly Situated   Magali Vargas                         196289
2553 Similarly Situated   Lolita Smith                          195125
2554 Similarly Situated   Sheron Capers                         190399
2555 Similarly Situated   Sandra Cudjoe                         174504
2556 Similarly Situated   Jessica Chisholm                      173444
2557 Similarly Situated   Jerome Corrica                        171051
2558 Similarly Situated   Eric Law                              170585
2559 Similarly Situated   Janice Wells                          162243
2560 Similarly Situated   Rupert Fullerton                      142808
2561 Similarly Situated   Ramon Depra                           139187
2562 Similarly Situated   Fernando Depena                       137735
2563 Similarly Situated   Barbara Hellins                       132547
2564 Similarly Situated   Cynthia Gamble                        132110
2565 Similarly Situated   Rena Watts                            132018
2566 Similarly Situated   Howard Jacoff                         131950
2567 Similarly Situated   Joseph Kehs                           131406
2568 Similarly Situated   Leonard Robinson                      130723
2569 Similarly Situated   Kevin Mckeller                        129113
2570 Similarly Situated   Lynell Wright                         122512
2571 Similarly Situated   Renee Saundres-Harris                 121562
2572 Similarly Situated   Leslie Williams                       117715
2573 Similarly Situated   Tonya Steele-Dowdell                  112676
2574 Similarly Situated   Bernice Ginyard-Forest                102959
2575 Similarly Situated   Mary Witter                           101206
2576 Similarly Situated   Terence Niles                          84768
2577 Similarly Situated   Surujdyal Rupnarain                    84633
2578 Similarly Situated   Lynn Olivache                          79155
2579 Similarly Situated   James Thomas                           71196
2580 Similarly Situated   Ejaaz Siddiqui                         70019
2581 Similarly Situated   Bernadette Mervin                      67354
2582 Similarly Situated   Mario Carrillo                         35098
2583 Similarly Situated   Dimitrice Holt                         29899
2584 Similarly Situated   Carolyn China-Clark                    22111
2585 Similarly Situated   Robert Evans                           21338
2586 Similarly Situated   Alora Fordham                          21149




                                            Page 54 of 54
Case 1:20-cv-09641-ALC-SDA   Document 168-3   Filed 07/15/24   Page 71 of 73




                             EXHIBIT B
 Case 1:20-cv-09641-ALC-SDA                  Document 168-3            Filed 07/15/24   Page 72 of 73




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------X
OMAR MALCOLM, KARVEN ALCINDOR, ANTHONY                                     Case No: 20-cv-09641
APONTE, SHIRLENE BLAIR, DERYCK CHARLES,                                    (ALC)(SDA)
LATIF CORNELIUS, LANAE CURRY, JOSE DEJESUS,
SHAKIYNA ESPINO, ROBERTO FERNANDEZ,
VLAJEMY FRANCOIS, CRYSTAL GARNETT, CHANTEL STIPULATION OF
GOUVEIA, APRIL HERNEY-KOSAKOWSKI, TAMELLE VOLUNTARY DISMISSAL
HILLIARD, YOLANDA HOLMES, MONIQUE JOHNSON, PURSUANT TO F.R.C.P.
KEYSHA LEWIS, CAROLYN MARAJ, HUZIRAN                                       41(a)(1)(A)(ii)
MOZEB, ZHIHUI PU, DAVID RUDDOCK, MYRLINE
ULYSSES, and BRICE WILLIAMS, individually and on
behalf of all others similarly situated,

                                          Plaintiffs,


                         -against-

THE CITY OF NEW YORK,

                                             Defendant.
-------------------------------------------------------------------------X


STIPULATION OF VOLUNTARY DIMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

        IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel(s) that, in light of the Court approved settlement, the above captioned

action is voluntarily dismissed with prejudice against the Defendant The City of New York

pursuant to the Federal Rules of Civil Procedure 41(a)(1)(A)(ii).




                                                        1
                                                                                               7074733.1
 Case 1:20-cv-09641-ALC-SDA             Document 168-3   Filed 07/15/24   Page 73 of 73




Law Offices of Jason L. Abelove, P.C.             Jackson Lewis, P.C.

By: _____________________________                 By:___s/ Felice B. Ekelman_____________
Jason L. Abelove,                                  Felice B. Ekelman
Attorneys for Plaintiffs                           Adam S. Gross
666 Old Country Road, Suite 303                    Annabel R. Stanley
Garden City, NY 11530                              Attorneys for Defendant
(516) 222-7000                                     666 Old Third Avenue, 29th Floor
                                                   New York, New York 10017
                                                   (212) 545-4000




                                              2
                                                                                  7074733.1
